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                               UNITED STATES DISTRICT COURT FOR THE

                                        EASTERN DISTRICT OF NEW YORK




   INFINITY CONSULTING GROUP, LLC,
   INFINITY CONSULTING GROUP

   LATIN AMERICA, APS/BOT AL

   STAFFING INC., ICG OF AMERICA,
   LLC, LUIGI FORINO AND ADAM FOX,                                                     Civil Action No. 09-1744

                                       Plaintiffs,

   AMERICAN CYBERSYSTEMS, INC.,
   RAJIV SARDANA, individually, and
   NICK GOEL, individually

                                       Defendants.


                                                    AMENDED COMPLAINT

               Plaintiffs, Infinity Consulting Group, LLC ("Infinity"), Infinity Consulting Group

   Latin America "Infinity Latin America"), APS/Botal Staffing, Inc. ("APS"), ICG of

   America, LLC ("ICG" and together with Infinity, Infinity Latin America and APS, the

   ("Infinity Entities"), Luigi Forino, an individual and Adam Fox, an individual

    (collectively the "Plaintiffs" and each a "Plaintiff"), by and through their attorneys, Tuan




    Olona, LLP, hereby file this complaint (the "Complaint") against defendants, American




    Cybersystems, Inc., Rajiv Sardana, individually and Nick Goel, individually

    (collectively, the "Defendants" and each a "Defendant"), and in support thereof avers as

    follows:



                                                                      PARTIES

                1. Plaintiff Infinity is a limited liability company, formerly engaged in the


    business of technology consulting, professional and administrative staffing, vendor
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   management and project solutions business, presently with its sole location at 235 Island

   Parkway, West Island Park, New York 11558-1325.

          2. Plaintiff Infinity Latin America is a company incorporated in the

   Dominican Republic formerly engaged in the business of professional and administrative

   staffing business, presently with its sole location at 235 Island Parkway, West Island

   Park, New York 11558-1325.

          3. Plaintiff APS is a Delaware corporation formerly engaged in the business


   of technology consulting, professional and administrative staffing, vendor management

   and project solutions business, presently with its sole location at 235 Island Parkway,

   West Island Park, New York 11558-1325.

             4. Plaintiff ICG is a New York limited liability company formerly engaged


   in the business of technology consulting, professional and administrative staffing, vendor

   management and project solutions business, presently with its sole location at 235 Island

   Parkway, West Island Park, New York 11558-1325.

             5. Plaintiffs, Luigi Forino ("Forino") and Adam Fox ("Fox") are the only


   principals of the above-referenced companies.

             6. Plaintiff   Luigi Forino is a principal oflnfinity with a location at 211 Doris

   Avenue, North Bellmore, New York 11710.

             7. Plaintiff Adam Fox is a principal of Infinity with his sole location at 340

    East Bird Village Road, Jackson, New Jersey 08527.

             8. Defendant, American Cybersystems, Inc. ("ACS") is a Georgia

    corporation with an address of 1 00 Crescent Center Parkway, Suite 200, Tucker, Georgia

    30084.



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               9. Defendant Rajiv Sardana ("Sardana") is an individual and President of

   ACS with an address at 207 Eagles Landing Way, McDonough, Georgia 30253-4221.




               10. Defendant Nick Goel is an individual and the Controller of ACS with an




   address at 207 Eagles Landing Way, McDonough, Georgia 30253-4221. ACS, Sardana

   and Goel are collectively referred to throughout the Complaint as "Defendants."

               11. Based upon information and belief Sardana and Goel are the only

   principals of ACS.

                                                JURISDICTION AND VENUE




               12. This Court has jurisdiction over this matter under 28 U.S.C. § 1332

   because there is diversity of citizenship among Plaintiffs and Defendant ACS, a Georgia

   corporation, with a place of business located in Georgia and Defendants Sardana and

   Goel, are Georgia residents.

                13. This judicial district is the proper venue for this proceeding pursuant to 28


   U.S.C. § 1391 because Plaintiff                     Infinity Entities and Forino reside in this district.

                                                                     FACTS

                14. On or about January 7, 2008, the Parties entered into an Asset Purchase

    Agreement (the "Contract") whereby Defendant ACS agreed to purchase the Infinity

    Emtities' business, including its professional and administrative staffing clientele (the

    "ICG Division"). See Contract attached as Exhibit "A"

                15. In consideration of receiving that business, pursuant to Section 2.4 of


    Contract, Defendant ACS agreed to pay Plaintiffs a cash portion at the closing and three

    separate earn out payments over three years after the closing in connection with the

    revenues generated from the clients ACS received from Plaintiffs ("Plaintiffs' Clients")


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   as well as revenues generated by staff assigned to the ICG Division from clients who

   were not Plaintiffs' Clients.

              16. Plaintiffs agreed to the earn out payments structure as a major part of
                                                                                                                       the

   sales price for the ICG Division, relying upon Defendant Sardana's representations that

   Defendants would grow the ICG Division and that earn out payments would be much

   higher in the years to come.

                                                         The Earn Out Provision

               17. Prior to executing the Contract, Defendant Sardana represented to

   Plaintiffs that he intended to grow the ICG Division, and pursuant to the Contract,

   Defendants agreed promptly after the closing of                              the purchase of   the ICG Division, to hire

   four additional full time employees in the New YorklNew Jersey offices which

   Defendant ACS was acquiring. Defendant Sardana also agreed to hire five additional full




   time employees devoted exclusively to the ICG Division's Dominican Republic

   operations. (the "Head Count Provision").

               18. Each of               the additional employees were to provide account management or

    recruiting services to the ICG Division in the United States or Dominican Republic

    offices, as the case may be. This agreement was memorialized in Section 2.4(i) of the

    Contract, and was a material part of the Contract.




                19. However, after the closing of the sale and purchase of the ICG Division,

    Defendants did not hire any additional employees for the New YorklNew Jersey or the

    Dominican Republic offices or make any attempts to hire the additional employees

    pursuant to the Head Count Provision. In fact, the number of staff in those locations

    dedicated to the ICG Division has significantly declined since the closing.


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              20. The Head Count Provision was a vital clause to the Contract because the

   amount of employees servicing the ICG Division is directly attributable to the revenue

   generated each year and used to calculate the earn out payments.

              21. Plaintiff Fox repeatedly requested permission as Vice President of ACS


   after the Closing to hire additional staff for the New YorklNew Jersey office as well as

   the Dominican Republic, but he was consistently rebuffed by Defendant Sardana.

              22. Not only have Defendants decreased the operations of the ICG Division,


   they have repeatedly misrepresented to Plaintiffs that Defendant ACS is in compliance

   with the Contract.




               23. On January 29, 2008, Defendant Sardana emailed Plaintiff Forino with a

   list of only 17 employees purportedly servicing the ICG Division. Not only was that

   number below the 21 employees required under the Contract, most of the individuals

   included on the list were not exclusively servicing the ICG Division.

               24. To exacerbate Defendants' breach, upon information and belief,

   Defendant Sardana fraudulently included many individuals who were not at all or only

   periperiphally involved with the ICG Division.

               25. On March 31,2009, Defendant Goel fraudulently sent to Plaintiff
                                                                                              Forino a

    list of employees purporting to be under the headcount, when such individuals were not

    full time employees working for the ICG Division or in some cases not working at all in




    the ICG Division. Defendant Goel fraudulently claimed that such list was in response to

    the request for additional assurances.




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                                          The Additional Assurances Provision

             26. Section 16.13 of the Contract also provides Additional Assurances to


   which:

                          (e )ach party agrees that it will, at any time before and after
                          the Closing, execute and deliver all additional documents,
                          and do any other acts or things that may be reasonably
                          requested by the other party in order to further or better
                          effectuate or evidence the terms hereof, all as reasonably
                          requested by such other party and all without expense or
                          undue hardship to such other party.

              27. Under cover of letter dated February 17, 2009, Infinity requested that

   Defendant ACS provide written additional assurances that it was in compliance with the

   Head Count Provision.

              28. Despite the February 17th letter and several other requests for written

   additional assurances, Defendant ACS has refused to employ the agreed-to employees or

   to provide assurance that it will comply with the Head Count Provision.

                                                        The Earn Out Payments

               29. In or around March 2009, Defendant ACS issued its first earn out payment

   to Plaintiffs. Without notice, Defendant ACS withdrew $87,218.85 from that payment

   for purported claims which Defendant ACS claims Plaintiff Infinity owes to it.




               30. Pursuant to Section 2.6 of the Contract, written notice with a thirty (30)

    day period to cure any breach had to be provided prior to any right of Defendant ACS to

    offset any charges against the earn out. No such written notice was provided by

    Defendant ACS to Plaintifflnfinity.

                31. Not only does Plaintiff Infinity dispute any such set-off, Defendant ACS

    has refused to detail why the $87, 218.85 set-off                               is proper in this case.



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                         The Dispute Resolution Regarding Earn-Out Calculation

              32. On page 12 of the Contract, under the heading "Dispute Resolution

   Regarding Earn-Out Calculation", Defendant ACS agreed that if there were any disputes

   as to the Earn-Out Payments, that Defendant ACS' accountants would work with Plaintiff




   Infinity's accountants to resolve such disputes:

                           "If there should be any disagreement between Sellers and
                           Buyer as to the proper computation of the Earn-Out
                           Payments due from hereunder, Sellers' accountant and
                           Buyers' accountant shall undertake to reach agreement as
                           to the correct amounts payable and shall promptly notify

                           Sellers and Buyers in writing as to such agreement."

               33. Upon information and belief, Plaintiffs believe that the earn out

   calculations for the first payment is grossly understated and represents only a fraction of

   the amount owed to them pursuant to the Contract. Upon receipt of the earn out amount,

   Plaintiffs requested Defendant ACS' cooperation to resolve the differences in the proper

   computation of the Earn-Out payments.

               34. Despite repeated requests by Plaintiff Infinity's accountant to contact

   Defendant ACS' accountant pursuant to the Dispute Resolution Regarding Earn-Out

    Calculation, Defendants have refused all requests to meet and compute the proper Earn-

    Out Payment. On December 18, 2009, Defendants' attorney, Kevin Watters, Esq. of

    McGuire Woods LP sent an electronic mail communication confirming that Defendant

    ACS would not be cooperating with the Dispute Resolution process for the Earn-Out in




    breach of Section 2.40) of                 the Contract.




                                                          The Emazzanti Case

                35. On or about June 30, 2008, Mazzanti, Inc., d/b/a Emazzanti Technologies,

    filed a complaint against Plaintiffs in the Superior Court of New Jersey for breach of

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   contract relating to certain computer services provided to Defendant ACS after Defendant

   ACS took possession of                 Plaintiffs' assets under the Contract.




               36. Pursuant to the Contract, Emazzanti's contract was specifically included in


   the assets purchased by Defendant ACS from the Infnity Entities.

               37. Also pursuant to the Contract, Defendant ACS agreed to indemnify




   Plaintiffs for any and all claims, including reasonable attorneys' fees and other costs of

   litigation arising out of, or resulting from, the operation of the business after the closing

   date of that agreement.




               38. Based on the Contract, Plaintiff Infinity filed a third-party complaint

   against Defendant ACS seeking indemnification for the Emazzanti action.

               39. The parties ultimately agreed, and placed on the record, that they would

   settle the Superior Court of New Jersey case by Defendant ACS paying Emazzanti the

   full amount of its invoice and that Plaintiff Infinity was reserving the right to pursue its

    claim for attorneys' fees relating to that case in the present action.

                40. Defendant ACS stated on the record that it would not resist the claims

    relating to the attorneys for the New Jersey matter based on that state's entire controversy

    doctrine.


                                                                   COUNT           I
                                                          (Breach of Contract)

                41. Plaintiffs repeat and reallege Counts 1 through 38 above as if same were


    set forth fully at length herein.

                42. The earn out payments formed the basis of Plaintiffs' decision to sell their




    assets to Defendant ACS and the primary consideration by Defendant ACS.


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             43. Pursuant to the Contract, Defendant ACS agreed to employ the above-

   number of employees for the ICG Division to ensure that the earn out payments would be

   consistent with the Parties' expectations and projections.

              44. By refusing to employ the proper number of employees, Defendant ACS


   breached its Contract with Plaintiffs causing resultant damage.

              45. By withdrawing funds without notice or explanation from the first earn out

   payment, Defendant ACS breached its contract with Plaintiffs.

              46. By refusing to allow its accountant to work with Plaintiff Infinity's

   accountant to calculate the proper earn out figure, Defendant ACS breached its contract

   with Plaintiffs.

              WHEREFORE, plaintiffs, Infinity Consulting Group, LLC, Infinity Consulting

   Group Latin America, APS/Botal Staffing, Inc., ICG of America, LLC, Luigi Forino and

   Adam Fox hereby demand judgment against defendant, American Cybersystems, Inc., in

   an amount to be determined at trial, together with attorneys' fees, costs of suit and such

   other relief as the Court deems equitable and just.




                                                         COUNT       II


                                                           (Fraud)
               47. Plaintiffs repeat and realleges Counts 1 through 44 above as if same were


   set forth fully at length herein.

               48. Plaintiffs relied on Defendant ACS to hire the additional staff for the ICG


   Division and to grow the business.

               49. Defendant Sardana, by deceit, caused Plaintiffs to enter into the Contract

   by misrepresenting that Defendant ACS would grow the ICG Division during the relevant

    earn out periods knowing that Defendant ACS had no intention of doing so.

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               50. As a result, Defendant Sardana fraudulently induced Plaintiffs to enter into

   the Contract.




               WHEREFORE, plaintiffs, Infinity Consulting Group, LLC, Infinity Consulting

   Group Latin America, APS/Botal Staffing, Inc., ICG of America, LLC, Luigi Forino and

   Adam Fox, demand judgment against Defendant Sardana, in an amount to be determined

    at trial, together with punitive damages, attorneys' costs of suit and such other relief as

   the Court deems equitable and just.




                                                                COUNT           III
                                                                    (Fraud)

         51. Plaintiffs repeat and reallege Counts 1 through 48 above as if same were set


    forth fully at length herein.

          52. Defendants Sardana and Goel fraudulently misrepresented to Plaintiffs Forino

    and Fox on several occasions that Defendant ACS was in compliance with the Head

    Count Provision by providing false lists of employees at Defendant ACS meeting the

    requirements of the Head Count Provision.

          53. Plaintiffs relied on Defendants Sardana and Goel's representations that


    Defendant ACS was in compliance with the Head Count Provision and that Defendant

    ACS was growing the ICG Division.

          54. Thereafter, Plaintiffs realized that Defendant ACS were in breach of
                                                                                       the Head

    Count Provision and that the first earn out payment was materially less than it should

    have been.

                   WHEREFORE, plaintiffs, Infinity Consulting Group, LLC, Infinity Consulting

    Group Latin America, APS/Botal Staffing, Inc., ICG of America, LLC, Luigi Forino and

    Adam Fox, demand judgment against Defendants Sardana and Goel, in an amount to be

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   determined at trial, together with punitive damages, attorneys' costs of suit and such

   other relief as the Court deems equitable and just.




                                                                       COUNT             iv
                                                               (Breach of Contract)

                55. Plaintiffs repeat and reallege Counts 1 through 52 above as if same were set


   forth fully at length herein.

                56. Pursuant to the Contract, Defendant ACS was required to provide Plaintiff




   Infinity notice of any claims against Plaintiff Infinity. To date, Plaintiff Infinity has not

   received notice of any claims to which Defendant ACS is entitled to reimbursement.




                57. On or about March 31, 2009, Defendant ACS made an earnout payment, but

    deducted the sum of $87,218.85 claiming that such deduction were for amounts owed by

    Plaintiff           Infinity to Defendant ACS.

                58. Defendant ACS' setoff                         was a breach of             the Contract.




                            WHEREFORE, plaintiffs, Infinity Consulting Group, LLC, Infinity




    Consulting Group Latin America, APS/Botal Staffing, Inc., ICG of America, LLC, Luigi

    Forino and Adam Fox hereby demand judgment against defendant American




     Cybersystems, Inc., in an amount to be determined at trial, together with attorneys' fees,

     costs of suit and such other relief as the Court deems equitable and just.




                                                                          COUNT           V

                                        (Breach of covenant of good faith and fair dealing)

                       59. Plaintiffs repeat and reallege Counts 1 through 56 above as if same were set

     forth fully at length herein.

                       60. The above acts of Defendants are in contravention of the covenant of good

      faith and fair dealing.

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           WHEREFORE, plaintiffs, Infinity Consulting Group, LLC, Infinity Consulting

   Group Latin America, APS/Botal Staffing, Inc., ICG of America, LLC, Luigi Forino and

   Adam Fox, demand judgment against defendants, American Cybersystems, Inc., Rajiv

   Sardana and Nick Goel in an amount to be determined at trial, together with attorneys'

   costs of suit and such other relief as the Court deems equitable and just.

                                           COUNT        VI




                                      (Unjust Enrichment).

            61. Plaintiffs repeat and reallege Counts 1 through 58 above as if same were set

    forth fully at length herein.

            62. By maintaining less staff in the ICG Division then Defendant ACS was

    required to maintain during the term of the Contract, the first earnout payment as well as

    subsequent earnout payments will be lower due to the lower revenues. Therefore,


    Defendant ACS has paid and will pay less than the fair market value for the assets of the

    Infinity Entities, and Defendant ACS has been unjustly enriched to the detriment of

    Plaintiffs.




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          WHEREFORE, plaintiffs, Infinity Consulting Group, LLC, Infinity Consulting

   Group Latin America, APS/Botal Staffing, Inc., ICG of America, LLC, Luigi Forino and

   Adam Fox, demand judgment against defendants, American Cybersystems, Inc., Rajiv

   Sardana and Nick Goel, in an amount to be determined at trial, together with attorneys'

   costs of suit and such other relief as the Court deems equitable and just.


                                                 TUAN OLONA, LLP
                                                 Attorneys for Plaintiffs
                                                 Infinity Consulting Group, LLC
                                                 Infinity Consulting Group Latin America,
                                                 APS/Botal Staffing Inc.
                                                 ICG of America, LLC
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    Dated: February 4,2010




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                 Exhibit A
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                              ASSET PURCHASE AGREEMENT




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                                               ASSET PtJRCHASE AGREEMENT

              TillS ASSET PURCHASE AGREEMENT (this document and all exhibits attached
   hereto shall be referred to herein as the "Agreement") is made and entered into effective this 7th
   day of January, 2008 (the "Effective Date"), by and among INFINITY CONSULTING
   GROUP, LLC., a New York limited liability company ("Infinity"), INFINITY CONSULTING
   GROUP LATIN AMERICA, a Dominican Republic company ("Infinity DR"), APSIBOTAL

   STAFFING INC., a New York corporation ("APS"), and ICG OF AMERICA, LLC, a New
   York limited liability company ("ICG"; together with Infinity, Infinity DR and APS, are
   collectively referred to as the "Sellers" and individually as a "Seller"), with headquarters of each
   Seller at 450 7th Avenue, 44th Floor, New York, NY 10123, LUIGI FORINO ("Forino"), a
   resident of235 Island Parkway, Island Park, New York 11558 and ADAM B. FOX a resident of
   340 East Bird Village Road, Jackson NJ 08527 ("Fox"), (Forino and Fox are collectively referred
   to as the "Principals") and AMERICAN CYBERSYSTEMS, INC., a Georgia corporation, with
   an address of 100 Crescent Center Parkway, Suite 200, Tucker, Georgia 30084 (hereinafter
   referred to as "Buyer"). (Buyer and Seller Parties are sometimes hereinafter referred to
   collectively as the "parties" and individually as a ".i;mrly")

                                                           WITNES SETH:
              WHEREAS, Sellers own and operate an information technology consulting, professional
   and administrative staffing, vendor management and project solutions business (the "Business")
   with offices at 450 7th Avenue, 44th Floor, New York, NY 10123,4400 Route 9 South, Freehold,
   NJ 07728 and Calle Jose Del Carmen Ariza; Esquina Mella #8; 3rd Piso Pueiio Plata, Republica
   Dominicana (collectively, the "Locations").

              WHEREAS, Sellers collectively desire to sell to Buyer all right, title and interest in and to
   substantially all of the assets of the Business (the "Purchased Assets") and to assign to Buyer
   certain contracts related to the operation of the Business (the "Assumed Contracts");

               WHEREAS, Principals (collectively with Sellers, the "Seller Parties" and each a "Seller
   Party") desire Sellers to sell to Buyer the Purchased Assets and assign to Buyer the Assumed
   Contracts from and after the Closing Date (as defined in Section 3), and are fuiiher willing to
   become a party to this Agreement for the sole purpose of entering into certain covenants not to
   compete or solicit or disclose coníidential information as described in Section 15 hereof and
   making certain acknowledgments and agreements as set forth herein;

          WHEREAS, Buyer desires to purchase all of Sellers' right, title and interest in and to the
   Purchased Assets and to assume the rights and obligations of Sellers in and under the Assumed
   Contracts from and after the Closing Date on the terms and conditions herein set fOlih; and

          WHEREAS, Buyer deems Principals to be essential parties to this Agreement, and Buyer
   cleems the covenants not to compete/solicit and the obligations of confidentiality as set forth in
   Article 15 hereof ancl acknowledgements and agreements of the Principals as essential
   consideration to be received by Buyer hereunder, and Buyer would not enter into this Agreement
   but for the agreement and performance by Principals of their agreements and undertakings as
   expressly set fOlih in Section i 5 hereof and elsewhere in this Agreement.




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             NOW, THEREFORE, in consideration of such sale and assignment and of the foregoing
   and of   the mutual agreements hereinafter set foith, the paities hereto do hereby agree as follows:

   l.Sale and Purchase of Purchased Assets

         1.1Purchased Assets. Upon the terms and subject to the conditions set forth in this
   Agreement, Sellers shall: (i) sell, transfer and convey to Buyer, and Buyer shall purchase, fi"ee and
   clear of any and all liens, claims and encumbrances, all right, title and interest in and to the
   Purchased Assets described in Exhibit "A" attached hereto and (ii) assign to Buyer all of Sellers'
   rights and obligations arising under and related to the Assumed Contracts from and after the
   Closing Date as referred to and as set forth in Exhibit "B" attached hereto.

              1.2Excluded Assets and Excluded Liabilities. Excluded from the sale under this
   Agreement are the following assets of Sellers (collectively, the "Excluded Assets"), which shall

   remain the sole propeity of Sellers:

                 (a)rights and obligations under Assumed Contracts related to the period prior to the
   Closing Date and all liabilities not expressly assumed pursuant to this Agreement, including but
   not limited to any liability for taxes, or relating to payroll, vacation, sick leave, workers'
   compensation, unemployment benefits, pension benefits, severance, termination, or retention
   payments for any employee, consultant, or former employee or consultant of any Seller or any
   litigation described on Schedule 7.2(b) hereto (the "Excluded Liabilities");

                          (b)each Seller's minute books, seals, stock record books, stock ceitificates and
   other similar corporate documents that are not necessary for the Buyer to operate the Business; all

   personnel and employment records that do not relate solely to employees of Sellers hired by Buyer
   at Closing; records relating to returns of taxes, including all suppoiting schedules, for taxes
   accruing on or before the Closing, provided that upon reasonable request, before or after the
   Closing, Sellers will promptly provide Buyer with copies thereof; .

                 (c)all rights and claims against third parties in respect of the Excluded Assets and
   Excluded Liabilities, including without limitation all rights under express or implied warranties or
   indemnity obligations from suppliers and/or customers or other third parties to a Seller and all

   other claims, rebates, payments from vendors and refunds to the extent the foregoing relate solely
   to any Excluded Asset or Excluded Liability;

                  (d)all assets of any employee benefit plan maintained by any Seller and all assets
   segregated or set aside for payment of benefit claims or satisfaction of liabilities arising under any
   such employee benefit plan;

                    (e)all permits pertaining to the Business that, pursuant to their terms or pursuant to
    applicable law, are not transferable;

                          (f)other than the Accounts Receivable (as defined in Section 5.2 hereof) all rights
    and claims against th ird parties in respect of the Purchased Assets or the operation of the Business
    prior to Closing;

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                         (g)all loans :lioin a Seller to one or both of
                                                                                         Principals or other amounts payable by a
   Seller to one or both of          Principals;

                         (h)any amounts payable to Jonathan Gazdak pursuant to employment, termination,
   severance or other arrangements; and

                  (i)all other assets of Sellers not specifically included in the Purchased Assets,
   including but not limited to rights under insurance policies, rights to receive tax refunds, the
   charter of each Seller, taxpayer identification numbers, minute books, seals and other documents
   relating to the existence of Sellers and the rights of Sellers under the Agreement.



            L.3Assumed Liabilities. Buyer shall assume, and hereby agrees to assume (the "Assumed
   Liabilities") :

                   (a)all obligations of Sellers under the Assumed Contracts related to the period
   following the Closing Date but only to the extent such liability or obligation is not based on an
   event, act, omission or occurrence prior to the Closing Date;

                         (b )all obligations of Sellers under the following Leases (together, the "Space
   Leases" and individually, a "Space Lease"):

                                     (i)that ceiiain Lease dated as of , _' by and between Infinity,
                          as tenant, and , as landlord, for the premises at 450 7th
                          Avenue, 44th Floor, New York, NY 10123 (the "New York Location");

                                     (ii)that certain Lease dated as of , _' by and between
                          Infinity, as tenant, and Freehold-Craig Road Partnership, as landlord, for the
                          premises at 4400 Route 9 South, 2nd Floor, Freehold, NJ 07728; and

                                     (iii)that ceiiain Lease dated as of , _, by and between
                          Infinity Consulting Group Latin America, as tenant, and Alberto Noesi, C. POR
                          A., as landlord, for the premises at Calle Jose Del Carmen Ariza; Esquina Mella #8;
                          3rd Pi so Puerto Plata, Republica Dominicana;

                          (c)   any trade account payable (other than a trade account payable to a Related
   Person) that remains unpaid at and is not delinquent as of the Effective Time and that is either
   reflected on Schedule i.3 attached hereto or incurred by Sellers in the ordinary course of business
   between the date of such Schedule i.3 and the Effective Time (the "Assumed Payables");

                    (d)obligations of Sellers incurred in connection with the CMI Acquisition, but only
   to the extent, if any, as expressly assumed by separate written agreement of Buyer (not including
   this Agreement).

   (For purposes of this Agreement, the phrase "Related Person") means (a) with respect to an
   individual, each Principal, each other member of such Principal's family, any person or entity
   directly or indirectly controlled by one or more members of such individual's family; and any

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   entity for which one or more members of such individual's family serves as a director, manager,
   officer, partner, stockholder, member, executor or trustee; and (b) with respect to any person other
   than an individual, each Seller, any person or entity that directly or indirectly controls, is controlled
   by or under common control with such person, each person that serves as a director, manager,
   officer, partner, member, stockholder, executor or trustee of such person, or any person or entity

   that serves as a general paitner or trustee of any such entity.)

                   L.4Free and Clear Title. The sale and purchase of the Purchased Assets described herein
   is and shall be made free and clear of any and all payroll taxes, penalties, liens, encumbrances,
   security interests, liabilities and obligations of every nature and description, including, but not
   limited to, liability for taxes including, without limitation, income, payroll, and ad valorem taxes
   and all penalties or other obligations of any nature of or incurred by any of Sellers and Principals
   arising out of or related to any event, act, omission or occurrence prior to the Closing Date or
   obligations incurred prior to the Closing Date. Except for the Assumed Liabilities and subject to
   Section 4.6 herein, Sellers shall be responsible for all liabilities and obligations of the Business
   arising prior to the Closing Date to the extent related to the period prior to Closing, including, but
   not limited to, the payment of rent and all expenses related to the Space Leases, the payment of all

   salaries, wages, commissions, bonuses and all other compensation of employees of any Seller, the
   payment of federal and state payroll and unemployment taxes, the payment and handling of all

   workers' compensation and other claims and loss retentions in respect of insured losses, the
   payment of all "self-insured" claims for occupational injuries and illnesses, the payment of all

   insurance premiums related to the operation of the Business prior to Closing, the payment of
   claims for unemployment compensation or benefits under the Consolidated Omnibus Budget
   Reconciliation Act ("COBRA") or Family Medical Leave Act ("FMLA") filed by employees of
   any Seller who are terminated by any Seller prior to Closing and the payment of all other expenses
   related to the operation of the Business prior to Closing. Sellers shall also be and remain
   responsible for all costs, expenses, damages and claims of every kind and nature (including the
   defenses thereof) related to or in connection with all liabilities or obligations of any Seller to
   process any payroll for any client for which money has been deposited with such Seller on or prior
   to Closing except to the extent that such deposit has been transferred to Buyer or Buyer has been
   given credit for such deposit pursuant to the pro-ration provisions of Section 6 below. Buyer shall

   be responsible for all liabilities and obligations of the Business arising TÌ'om and after the Closing
   and related to the period following Closing, including, but not limited to, the payment of rent and
   all expenses related to the Space Leases, the payment of all salaries, wages, commissions, bonuses
   and all other compensation of employees of any Seller who are hired by Buyer for work performed
   after the Closing, the payment of federal and state payroll and unemployment taxes, the payment
   and handling of all workers' compensation and other claims and loss retentions in respect of
   insured losses, the payment of all "self-insured" claims for occupational injuries and illnesses, the
   payment of all insurance premiums related to the operation of the Business following Closing, the
   payment of claims for unemployment compensation or benefits uncleI' COBRA or FMLA filed by
   employees of any Seller who are hired by Buyer and then terminated by Buyer, and the payment of
   all other expenses related to the operation ofthe Business following Closing.




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   2.Purchase Price

              2.1Aggregate Purchase Price. The purchase price for the Purchased Assets shall consist
   of  four   components: (a) cash consideration as described below (the "Cash Consideration"); (b) a
   Promissory Note as described below (the "Promissory Note"); and (c) an Earn-Out (as described
   in Subsection 2.4) based upon the performance of the Business as measured by Business Gross
   Profit (as defined herein) for a three (3)-year period from January 1, 2008 until December 31,
   2010; and (d) the assumption of the Assumed Liabilities (collectively, the "Purchase Price").
   Components (a) and (c) of    the Purchase Price shall be payable to Infinity, for itself as a Seller and
   as agent for the other Sellers, with the understanding that Sellers will apportion and distribute such
   component payments among themselves. Component (b) (Promissory Note) shall be payable to
   Escrow Agent under the Escrow Agreement.



              2.2Cash Consideration. The Cash Consideration payable to Sellers shall be Four Million
   and 00/100 Dollars ($4,000,000.00) minus the Net Working Capital Adjustment.




                         (a)Net Working Capital Adjustment.



                                     (i)The term "Net Working Capital" means the net book value as of the
                          Closing Date of (i) the trade accounts receivable and cash and cash equivalents of
                          Sellers included in the Purchased Assets minus (ii) the Assumed Payables, as
                          determined in accordance with Generally Accepted Accounting Principles
                          ("GAAP"). The Net Working Capital of Sellers as of August 31, 2007 was One
                          Hundred Twenty Thousand Four Hundred Seventy-Five and 80/1 00 Dollars
                          ($120,475.80) (the "Initial Net Working Capital Amount").

                                 (ii)The term "Net Working Capital Adjustment" (which may be a positive
                          number) will be equal to the amount, if any, by which the Final Net Working
                          Capital is less than the Initial Net Working CapitaL. .

                                  (iii)Final Net Working CapitaL. As soon as practicable, but no later than
                          sixty (60) days following the Closing Date, Sellers shall prepare and deliver to
                          Buyer a statement (the "Final Net Working Capital Statement"), setting forth the
                          Net Working Capital of Sellers as of the Closing Date (the "Final Net Working
                          Capital").

                                     (iv)Protest Notice. Within thirty (30) days following delivery of
                                                                                                         the Final
                          Net Working Capital Statement, Buyer may deliver written notice (the "Working
                          Capital Protest Notice") to Infinity, in care of Sellers, of any disagreement that
                          Buyer may have as to any amount included in or omitted fI'om the Final Net
                          Working Capital Statement. Such Working Capital Protest Notice shall set forth in
                          reasonable detail the basis of such disagreement together with the amount(s) in
                          dispute. The failure of Buyer to deliver such Working Capital Protest Notice within
                          the prescribed time period will constitute Buyer's acceptance of the Final Net
                          Working Capital Statement as determined by Sellers. Buyer and its representatives
                          shall be given reasonable access to all of Sellers' books and records relating to the

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                   Final Net Working Capital Statement during reasonable business hours for the
                   purpose of      verifying the Final Net Working Capital Statement.




                                (v)Resolution of Protest. If Buyer and Sellers are unable to resolve any
                   disagreement as to any amount included in or omitted from the Final Net Working
                   Capital Statement within fifteen (15) days following Infinity's receipt of the
                   Working Capital Protest Notice, then the amounts in dispute will be referred to an
                   accountant or accounting firm mutually acceptable to Sellers and Buyer (the
                   "Accountants") for final arbitration within foiiy-five (45) days after submitting the
                   matter to the Accountants, which arbitration shall be final and binding on Buyer
                   and each Seller Paity. The Accountants shall act as an arbitrator to determine,
                   based solely on presentations by Buyer and Sellers, and not by independent review,
                   only those amounts still in dispute. Buyer and Seller Paities agree to execute, if
                   requested by the Accountants, a reasonable engagement letter. The fees and
                   expenses of the Accountants shall be shared equally between Buyer, on the one
                   hand and Sellers, on the other hand. The term "Final Net Worldng Capital
                   Statement," as used in this Agreement, shall mean the definitive Final Net
                   Working Capital Statement accepted by Buyer or agreed to by Sellers and Buyer in
                   accordance with Section 2.2(a)(iii) or the definitive Final Net Working Capital
                   Statement resulting from the determinations made by the Accountants in
                   accordance with this Section 2.2(a)(v) (in addition to those items theretofore
                   accepted by Sellers or agreed to by Sellers and Buyer).

                                (vi)Reimbursement of Overpayment at Closing. Sellers shall pay to
                   Buyer, within fifteen (15) days of the determination of the Final Closing Net
                   Working Capital Statement pursuant to Section 2.2(a)(v), by wire transfer of
                   immediately available funds to an account designated by Buyer the amount of the
                   Net Working Capital Adjustment, plus interest t.hereon at the Applicable Rate from
                   the Closing Date to the date such payment is made pursuant to this clause (vi).

                   (b)Payment of Cash Consideration at Closing. At Closing, Buyer shall pay
   Sellers in cash the sum of Four Million Dollars ($4,000,000) by wire transfer of immediately
   available funds as follows:


                           (i) Seven Hundred Thousand Dollars ($700,000), plus payments by Buyer

                    under the Promissory Note, to be held on behalf of Sellers pursuant to, and subject
                   to, the provisions of an Escrow Agreement (the Escrow Agreement") among
                   Sellers, Buyer and SUNTRUST BANK (the "Escrow Agent") in form and
                    substance satisfactory to Buyer and Sellers; and

                                (ii)The balance to Sellers at such account or accounts as designated by
                    Sellers.

                    The Parties agree that the Escrow Agreement shall provide that on and after the first
                    anniversary of the Escrow Agreement, Escrow Agent shall release the sum of     Two
                    Hunclred Thousand Dollars ($200,000) upon the complete and final settlement,

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                                     judgment or dismissal, all with prejudice, in form and substance acceptable to
                                     Sellers and Buyer (which consent shall not be unreasonably withheld or delayed),
                                     of any litigation or claims outstanding against Sellers and that Escrow Agent shall

                                     retain all other amounts in and as deposited by Buyer pursuant to the Escrow
                                     Agreement pending release as described in such Escrow Agreement, with all costs
                                     of such Escrow Agreement to paid by Sellers.

                      2.3Promissory Note. At Closing, Buyer shall sign and deliver to Sellers a Promissory

   Note in the amount of Five Hundred Thousand and 00/1 00 Dollars ($500,000) payable in equal
   monthly installments over a thirty-six (36) month period, beginning April 1, 2008, at an interest
   rate of seven percent (7%) per annum, in the form attached hereto as Exhibit "C". During the term
   of     the Escrow Agreement, as defined therein, Buyer's payments under the Promissory Note shall

   be paid to Escrow Agent to be held and released pursuant to the Escrow Agreement.



                      2.4Earn-Out.




                 (a)Description. Following the Closing and as additional consideration for the
   Purchased Assets, Sellers shall be entitled to receive from Buyer (subject to the terms and
   conditions set foith in this Section 2.4) additional amounts based on the performance of the
   Business during (i) the twelve-month period from January 1,2008 through December 31,2008 (the
   "First Earn-Out Period"), (ii) the twelve-month period from January 1, 2009 through December
   31,2009 (the "Second Earn-Out Period") and (iii) the twelve-month period from January 1,2010
   through December 31, 2010 (the "Third Earn-Out Period," and together with the First Earn-Out
   Period and the Second Earn-Out Period, the "Earn-Out Periods"). The amount (if any) paid with
   respect to (A) the First Earn-Out Period (the "First Earn-Out Payment"), (B) the Second Earn-
   Out Period (the "Second Earn-Out Payment") and (C) the Third Earn-Out Period (the "Third
   Earn-Out Payment," and together with the First Earn-Out Payment and the Second Earn-Out
   Payment, the "Earn-Out Payments") shall be deteriuined in accordance with this Section 2.4(b)
   and shall be paid to Sellers pursuant to the terms of Section 2.4(c) below.

                                      (b)Amount. The amount of
                                                                                 the Earn-Out Payments shall be determined as set forth
    in this Section 2.4(b):

                                              (i)The First Earn-Out Payment shall be an amount equal to the Base Earn-
                                      Out for the First Earn-Out Period multiplied by i less any Quarterly Advance Earn-
                                      Out Payment received with respect to any calendar quarter in the First Earn-Out
                                      Period.

                                                  (ii)The Second Earn-Out Payment shall be an amount equal to the Base
                                      Earn-Out for the Second Earn-Out Period multiplied by 1.33 (the "Second
                                      Payment Multiplier") less any Quarterly Advance Earn-Out Payment received
                                      with respect to any calendar quarter in the Second Earn-Out Period.

                                                  (iii)The Third Earn-Out Payment shall be an amount equal to the Base Earn-
                                      Out for the Third Earn-Out Period multiplied by 1.5 (the "Third Payment


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                         Multiplier") less any Quarterly Advance Earn-Out Payment received with respect
                         to any calendar quarter in the Third Earn-Out Period.

                         (c)Payment. Upon Buyer's verification of
                                                                                    the amount of   the applicable Earn-Out
   Payment, the Earn-Out Payments shall be paid by Buyer to Sellers, by wire transfer of immediately
   available funds to an account or accounts designated by Sellers, as follows:

                                    (i)   The First Earn-Out Payment shall be paid on or before March 31, 2009.

                                    (ii)The Second Earn-Out Payment shall be paid on or before March 31,
                         2010.

                                    (iii)Fifty-six percent (56%) of the Third Earn-Out Payment shall be paid on
                         or before March 31, 2011, fourteen percent (14%) of               the Third Earn-Out Payment
                         shall be paid on or before June 30,2011, fifteen percent (15%) of              the Third Earn-
                         Out Payment shall be paid on or before September 30, 2011 and fifteen percent
                         (15%) of the Third Earn-Out Payment shall be paid on or before December 31,
                         2011.




                          (d)Quarterly Advance Earn-Out Payment. In the event that the Business Gross
   Profit for any calendar quarter in any Earn-Out Period is greater than One Million Dollars
   ($1,000,000), within thirty (30) days following the end of such quaiier Buyer shall pay to Sellers,
   by wire transfer of immediately available funds to an account or accounts designated by Sellers, an
   amount equal to Sixty Thousand Dollars ($60,000) as an advance earn-out payment (each a
   "Quarterly Advance Earn-Out Payment").

                   (e)Reimbursement by Sellers. In the event that any Earn-Out Payment calculated
   in Section 2.4(b) above is a negative number, the absolute value of such negative number shall be
   paid by Sellers to Buyer, by wire transfer of iiIimediately available funds to an account or accounts
   designated by Buyer, within thiity (30) days of the end of the Earn-Out Period for which such
   negative Earn-Out Payment was calculated. Each Seller Paiiy shall be jointly and severally liable
   for any payments to be made by Sellers pursuant to this Section 2.4( e).

                          (t)Colitract Right to Earn-Out Payments. The right of Sellers to receive any
    Earn-Out Payment (i) is solely a contractual right and is not a security for purposes of any federal
    or state securities laws (and shall confer upon Sellers only the rights of a general (un)secured
    creditor under applicable state law); (ii) will not be represented by any form of certificate or
    instrument; (iii) does not give any Seller any dividend rights, voting rights, liquidation rights,
    preemptive rights or other rights common to holders of Buyer's capital stock; (iv) is not
    redeemable; and (v) may not be sold, assigned, pledged, gifted, conveyed, transferred or otherwise
    disposed of (a "Transfer"), except by operation of law or pursuant to the laws of descent and
    distribution (and any Transfer in violation of                    this Section 2.4(g) shall be null and void).

                    (g)Conditions to Earn-Out Payments. Notwithstanding anything to the contrary
    contained in this Agreement, following the occurrence of any of the following events, all Earn-Out
    Payments, including any Quarterly Advance Earn-Out Payment, otherwise due and payable by

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   Buyer pursuant to this Agreement after the occurrence of such event shall be forfeited by the
   Sellers or reduced by Buyer as follows:

                             (i)Any failure of any Seller Party to agree (which agreement shall not be
                    unreasonably withheld or delayed) to terms of any subordination or intercreditor
                    agreement requested by any financial institution that is not an Affiliate of Buyer(s)
                    now or hereafter providing senior, secured financing to the Buyer or any Affiliate
                    which in the aggregate, is commercially reasonable to Seller Party in the protection
                    of its security interest and which shall not be materially worse than the terms and
                    conditions ofthe intercreditor agreement to be executed with SunTrust Bank on the
                    Closing, or the failure of any such Seller Paity to abide by the terms of any such
                    subordination or intercreditor agreement, then all (100%) of all Earn-Out Payments
                    otherwise payable to Sellers from the date of such failure or breach shall be
                    forfeited by Sellers;

                               (ii)Any breach by any Seller Party of the non-compete or non-solicitation
                    covenants contained in Section 15.1 hereof or material breach of the Confidential ity
                    covenants contained in Section 15.2 hereof shall result in the following adjustment:


                    (A) in the event of any breach by Forino, directly or indirectly, as set forth above
                    then seventy-three percent (73%) of all Earn-Out Payments otherwise payable to
                    Sellers from the date of such breach shall be forfeited by Sellers ; (B) in the event
                    of any breach by Fox, directly or indirectly, as set forth above then twenty-five
                    percent (25%) of all Earn-Out Payments otherwise payable to Sellers fì'om the date
                    of such breach shall be forfeited by Sellers and (C) in the event of any breach by
                    any Seller, directly or indirectly, as set forth above then all (100%) of all Earn-Out
                    Payments otherwise payable to Sellers from the date of such breach shall be
                    forfeited by Sellers; or

                            (iii)The termination of the Fox Employment Agreement prior to the first
                    anniversary.date of the Closing Date by Executive without Good Reason, death or
                    disability (as defined in the Fox Employment AgreementLor by Company for
                    'cause' (as defined in the Fox Employment Agreement), other then pursuant to
                    6.1.1.7, then all (l00%) of all Earn-Out Payments otherwise payable to Sellers from
                    the date of such termination shall be forfeited; provided however that seventy-three
                    percent (73%) of all Earn-Out Payments otherwise payable to Sellers from the date
                    of such termination shall be paid to Sellers if Forino shall assume and perform all

                    obligations of Fox pursuant to the Fox Employment Agreement up to the day
                    before the first anniversary of              the Closing Date;

                           (iv)The termination of the Fox Employment Agreement after the first
                    anniversary date of the Closing Date for "cause" plllsuant to Sections 6.1.1.1. or
                    6.1.1.3 of the Fox Employment Agreement, then twenty-five percent (25%) of all

                    Earn-Out Payments otherwise payable to Sellers from the date of such termination
                    shall be forfeited by Sellers; or



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                              (v)Subject to the foregoing subclauses (iii) and (iv), the termination of the
                   Fox Employment Agreement by Executive without 'Good Reason', death or
                   disability (as defined in the Fox Employment Agreement), after the first
                   anniversary date of          the Closing Date but before the second (2"'1) anniversary date of
                   the Closing Date then twenty-five percent (25%) of all Earn-Out Payments
                   otherwise payable to Sellers shall be forfeited during the period from that date upon
                   which Fox ceases performing services under such Fox Employment Agreement and
                   six months after Executive's notice of termination, all pursuant to Section 6.2.2.2 of
                   the Fox Employment Agreement

                   (h)Definitions. For purposes of this Section 2.4, the following terms have the
   meaning set forth below:

                            "Base Earn-Out" means, with respect to any Earn-Out Period, (i) the
                              (i)

                   Tranche 1 Yearly GP for such Earn-Out Period multiplied by zero (0) plus (ii) the
                   Tranche 2 Yearly GP for such Earn-Out Period multiplied by fifteen percent (15%)
                   plus (iii) the Tranche 3 Yearly GP for such Earn-Out Period multiplied by thirty-
                   five percent (35%) plus (iv) the Tranche 4 Yearly GP for such Earn-Out Period
                   multiplied by fifteen percent (15%) plus (v) the Tranche 5 Yearly GP for such
                   Earn-Out Period multiplied by ten percent (10%) plus (vi) the Tranche 6 Yearly GP
                   for such Earn-Out Period multiplied by five percent (5%).

                              (ii)"Business Cost of Revenue" means, without duplication, all costs and
                   expenses related to the Business Revenue, including, without limitation, all

                   consultant related expenses, all payroll expenses, payroll and other employment
                   related taxes, worlanan's compensation and other insurance (but excluding elTors &
                   omissions and general liability insurance) bought or maintained to support
                   consulting assignments, fi'inge benefits, expenses incurred on or paid to Business
                   consultants or contractors and all hardware and software expenses incurred in
                   connection with earning the Business Revenue. Business Cost of Revenue shall

                   also include (i) all direct or indirect payments to Goran Komarica or any affiliate of
                   Goran Komarica and the earn-out payments made to the sellers of Computer
                   Managers, Incorporated ("CMI") in connection with the "CMI Acquisition" as
                   defined in Section 3.2(h) hereof, (ii) beginning on the first anniversary of the
                   Closing Date, all commission amounts paid to Steve Sayetta and other related
                   expenses in connection with permanent placements made by Steve Sayetta, and (iii)
                   all costs and expenses incurred in connection with any upgrade or enhancement to
                   the Pro View vendor management software included in the Purchased Assets
                   ("Pro View").

                               (iii)"Business Revenue" means, without duplication, (i) the revenue of the
                   Business, including revenue from the assets of CMI acquired in the CMl
                   Acquisition, (ii) any revenue of Buyer generated by the recruiters and account
                   managers of Sellers that are hired by Buyá, (iii) any revenue of Buyer associated
                   with sales of Pro View, and (iv) revenue related to the new staffing business

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                        generated from Alcatel, Xcel Energy, ConAgra Foods, CH2M Hill, Northrop
                        Grurnman and DST after Closing.

                              (iv)"Business Gross Profit" means the Business Revenue minus the
                        Business Cost of Revenue, calculated by Buyer in a consistent manner as it
                         calculates Gross Profit for its general operations (beyond the ICG Division) except
                         for such changes or exceptions identified in this Agreement as to the ICG Division
                         or Business.

                                    (v)"Tranche 1 Yearly GP" means the Business Gross Profit for any Earn-
                         Out Period of    up to Two Million Dollars ($2,000,000).

                                (vi)"Tranche 2 Yearly GP" means the Business Gross Profit for any Earn-
                         Out Period above Two Million Dollars ($2,000,000) but less than or equal to Two
                         Million Five Hundred Thousand Dollars ($2,500,000).

                                 (vii)"Tranclie 3 Yearly GP" means the Business Gross Profit for any Earn-
                         Out Period above Two Million Five Hundred Thousand Dollars ($2,500,000) but
                         less than or equal to Four Million Dollars ($4,000,000).

                                    (viii)"Tranche 4 Yearly GP" means the Business Gross Profit for any
                         Earn-Out Period above Four Million Dollars ($4,000,000) but less than or equal to
                         Six Million Dollars ($6,000,000).


                                (ix)"Tranche 5 Yearly GP" means the Business Gross Profit for any Earn-
                         Out Period above Six Million Dollars ($6,000,000) but less than or equal to Twenty
                         Million Dollars ($20,000,000).


                                 ~ (x)"Tranche 6 Yearly GP" means the Business Gross Profit for any Earn-
                         Out Period above Twenty Million Dollars ($20,000,000).

                         (i)   Operations During Earn-Out Period. Buyer agrees that for financial
                                                                                               Buyer
   accounting purposes, it will account for the Business as a separate division or department of

   at all times during the Earn-Out Period (the "ICG Division"). Within thirty (30) days fi'om the
   Closing Date ancl through-out the Earn-Put Period, Buyer shall allocate the revenues ancl expenses
   of the following Buyer clients, including expenses of key employees servicing such clients, to the
   new lCG Division: Alcatel, Xcel Energy, ConAgra Foods, CH2M Hill, Northrup Grumman, and
   DST. Buyer agrees to (a) promptly following the Closing Date, hire or engage four additional
   individuals to provide account management or recruiting services in the United States; (b)
   promptly following the Closing Date, hire or engage tìve additional individuals to provide account
   management or recruiting services in the Dominican Republic; and (c) during the Earn-Out Period,
   maintain the direct staff headcount of the Business at no less than the number of direct, full-time
   employee staff equivalents (meaning one staff person working a full-time work schedule for one
   year) as in effect on November 7, 2007, minus one (attributable to Forino), but plus the new hires
   described in the foregoing clauses (a) and (b). Any additional staff of CMI that is hired by Buyer


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   shall not be included in the foregoing headcount calculations without the prior consent of Infinity,
   on behalf of Sellers, and Buyer.

                         ü)Dispute Resolution Regarding Earn-Out Calculation. If there should be any
   disagreement between Sellers and Buyer as to the proper computation of the Earn-Out Payments
   due fi"om Buyer hereunder, Sellers' accountant and Buyer's accountant shall undertake to reach
   agreement as to the correct amounts payable and shall promptly notify Sellers and Buyer in writing
   as to such agreement. Any such agreement by such accountants shall be conclusive and binding on
   the parties hereto and judgment thereon may be entered in any couii of applicable jurisdiction. If
   within twenty (20) business days after the matter is referred to them, the accountants of Sellers and
   Buyer are unable to agree as to the correct amounts payable, such accountants jqintly shall

   promptly select an independent ceiiified public accounting firm to serve as a third accountant (the
   "Third Accountant"). The Third Accountant shall, within twenty (20) business days after the
   matter is referred to it, notify Sellers and Buyer in writing of its determination of the correct
   amounts. Any such determination by the Third Accountant shall (a) not be less than the amounts
   as determined by Buyer's accountant nor be greater than the amounts as determined by the Sellers'
   accountant, and (b) be conclusive and binding on the parties hereto. Judgment thereon may be
   entered in any couii having applicable jurisdiction. The fees and expenses of the Third
   Accountant, and all other costs associated with any dispute in which a Third Accountant is
   appointed, shall be paid by the non-prevailing paiiy in the resolution procedure set foiih above,
   provided that each Seller and Buyer shall be responsible for its own attorneys' fees, accountants'
   fees and other expenses incuned in connection with the dispute. For purposes of this provision,
   the non-prevailing paiiy shall be considered to be the paiiy whose proposed amount differs the
   most, in the aggregate, from the amount determined by the Third Accountant. Sellers agree to
   jointly engage one accountant to act on behalf of Sellers in connection with any dispute resolution
   hereunder.

                          (k)Acknowledgement by Seller and Principals. Each Seller Party acknowledges
                                                                          the Earn-Out Payments.
   that Buyer makes no warranties or representations regarding the amount of

   which could or will become payable hereunder or whether any Earn-Out Payments will be payable
   hereunder.

                    Collateral Security for Earn-Out Payment. As collateral security for the
                          (i)

   payment of any Earn-Out Payments and the Promissory Note, Buyer shall, solely upon the consent
   of the "Prior Lienholders" (as hereinafter defined), grant Sellers a lien in the Purchased Assets
   acquired by Buyer hereunder, with the unclerstanding that payment of such amounts and lien shall

   be subordinate to payments and liens in favor of SunTrust Bank, such other persons holding a lien
   on all assets of Buyer on the date hereof, and any subsequent lenders to the Company that provide
   senior, secured debt tìnancing (collectively, "Prior Lienholders"). Such lien in the Purchased
   Assets in favor of Sellers shall be granted pursuant to a Security Agreement and related
   documents, in form and substance acceptable to Sellers, Buyer and such Prior Lienholders (the
   "Security Agreement"), which Security Agreement shall provide that all Liens in favor of Sellers
   shall terminate, automatically and without further action, on July 7, 2011, provided that all

   amounts owing to Sellers as flof such date under the Note and Earn-Out Payments are paid.



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                   (m)Failure to Pay Earn-Out Payment, Quarterly Advance Earn-Out Payment
   and/or the Occurrence of an Event of Default under the Promissory Note. Subject to Sections
   2.4 (g), 2.4 U) and 2.6 herein, Buyer agrees that (i) its failure to make any Earn-Out Payment or
   Quaiierly Advance Earn-Out Payment as required under this Section 2.4 where there is no dispute
   as to the amount of such payment within thiiiy (30) days after written notice by Sellers of such
   failure or (ii) an event of default under Section 3 ofthe Promissory Note after the expiration of any
   applicable cure periods, shall relieve Seller Paiiies of all obligations under Section 15.1 (Covenant
   against Competition and Solicitation) without any reduction or elimination of any other rights or
   obligations of any Seller Party or Buyer under this Agreement and any Transaction Document;
   provided, however, that in the event the payment of any such Earn-Out Payment would create or
   increase any material financial hardship of Buyer which material financial hardship shall be as
   reasonably determined by Sellers upon provision of proof by Buyer, then Sellers agree to provide
   Buyer an additional thirty (30) days to make such payment provided that such payment shall

   provide for interest at a per annum rate equal to the Prime Rate as quoted by the Wall Street
   Journal from time to time. Buyer and Seller Paiiies acknowledge and agree that, notwithstanding
   anything in this Agreement or any Transaction Documents to the contrary, should the Seller Paiiies
   be relieved of their obligations under Section 15.1 pursuant to this clause 2.4(m), such Seller
   Paiiies shall be fÌ'ee to use or disclose their general industry knowledge or information about the
   Business acquired prior to the Closing, but shall not use or disclose any Confidential Information,
   including trade secrets, about the Business or Buyer, including but not limited to any Confidential
   Information as defined in the Fox Employment Agreement.



               2.5Allocation of Purchase Price. The Purchase Price will be allocated among the
   Purchased Assets and Assumed Liabilities (the "Allocation") as shall be mutually agreeable by the
   Sellers and Buyers in writing prior to Closing. Buyer and each Seller Party shall (i) be bound by
   the Allocation for all tax purposes; (ii) prepare and file all tax returns in a manner consistent with
   the Allocation; and (iii) take no position inconsistent with the Allocation in any tax return, any
   proeeeding before any taxing authority or otherwise. In the event that the Allocation is disputed by
   any taxing authority, the party receiving notice of such dispute shall promptly notify and consult

   with the other paiiy and keep the other parties apprised of material developments concerning
   resolution of such dispute.


               2.60ffsets to payments under Promissory Note and Earn-Out Payments.

         All payments by Buyer to Sellers under the Promissory Note, Earn-Out Payments or any
   agreement to be executed and clelivered in connection with this Agreement ("Transaction
   Documents") shall be subject to offset for (i) any breach by a Seller Party of any term or provision
   in Section 15.1 hereof: or (ii) any material breach of                          any term or provision of   Section 15.2 hereof
   or (iii) any breach of any representations ancl warranties in this Agreement or any Schedule or
   Exhibit attached hereto or any Transaction Document or any breach by a Seller Party of any
   covenant, agreement or obligation of a Seller Paiiy in this Agreement or any Transaction
   Document to be performed after the Closing Date, including but not limited to Section 13.6 hereof,
   which breach described in subclause (iii) is not cured within thirty (30) days after written notice
   thereof from Buyer. Further, in the event of any claim, indemnification, or breach by CMl or any
   selling or other party to all or any aspect of the eMI Acquisition ("CMI Affiliate"), Buyer agrees

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   to first hold-back or reduce any and all earn-out or contingent payments otherwise payable to CMI

   or such CMI Affiliate under the documents governing the CMI Acquisition and to next hold-back
   or reduce any Earn-Out Payments to Sellers hereunder to the extent attributable to the CMI

   Acquisition, with no further hold-back or reduction in any other Earn-Out Payments to Sellers
   hereunder except to the extent attributable to the CMI Acquisition. Nothing in this Agreement or
   any Transaction Documents is intended to or shall in any way limit Buyer's right to recover
   damages and seek other relief fi-om any or all of CMI, CMI Affiliate, Sellers and/or Principals to
   the extent it is otherwise entitled to same.

   3.Closing

          3. 1 Closing.   Subject to the conditions set forth herein, the consummation of the
   transactions that are the subject of this Agreement (the "Closing") shall occur at the offices of
   McGuireWoods LLP, Suite 2100, 1170 Peachtree Street NE, Atlanta, GA or such other place as
   Buyer and Sellers may mutually agree upon in writing, at 10:00 a.m., Atlanta time, on a date
   specified by Buyer and Sellers but no later than two (2) business days after the satisfaction or
   waiver of the conditions set forth in Sections 10 and 11 hereof (other than conditions that by their
   nature are to be satisfied at the Closing) and the Closing shall be deemed effective as of the open of
   business on the Closing Date. The date on which the Closing actually occurs is herein referred to
   as the "Closing Date."

               3.2Closing Deliveries of Sellers and Principals. At the Closing, the Seller Parties will

   execute and deliver or cause to be executed and delivered, as applicable, to Buyer:

                  (a)Assignment and Bill of Sale. An assignment and bill of sale for the Purchased
   Assets, substantially in the form and to the effect of Exhibit D attached hereto (the "Assignment
   and Bill of Sale")

                          (b)Payoff Letters and Lien Discharges. A payoff or other letter, in form and
   substance acceptable to Buyer, from each holder of any lien or encumbrance on any of the
   Purchased Assets, indicating that upon payment of a specified amount such holder shall release its
   security interest and agree to execute Uniform Commercial Code Termination Statements, or such
    other documents or endorsements necessary to release of record the security interests of such
    holder, and evidence of the release or discharge of such financing statements, judgments, or other
    liens on or against the Purchased Assets, in form ancl substance satisfactory to Buyer;

                          (c)Assignment of Propriety Rights. An assignment of Proprietary Rights
    (including, without limitation, patent, trademark, ancl copyright assignments, if any) fì"om the
    applicable Seller in form and substance satisfactory to Buyer;

                 (d)Corporate Resolutions. Certified copies of the resolutions of the shareholders
    or members and Board of Directors or Managers, as applicable, of each Seller approving the
    transactions contemplated by this Agreement and the Transaction Documents;

                           (e)Fox and Forino Employment Agreements. An executed employment
    agreement from each of Fox (the "Fox Employment Agreement") and Forino (the "Forino

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   Employment Agreement" and collectively, with the Fox Employment Agreement, the "Principal
   Employment Agreements") in form and substance as acceptable to Buyer and each such person,
   and such employment agreements shall be in full force and effect as of                          the Closing;

                         (f)Assignment of Linale, Elia, Newman, and Derek Brightman Employment
   Agreements. The assignment of the written employment or consulting agreements, in form and
   substance satisfactory to Buyer, of Mario Linale and Peter Elia with ICG, and of Gary Newman
   and Derek Brightman and each such employment or consulting agreement shall be in form and
   substance acceptable to Buyer and in full force and effect as ofthe Closing;

                         (g)Assignment of CMI documents. The assignment, in form and substance
   satisfactory to Buyer, of all rights and obligations of Sellers in connection with the purchase of
   assets from CMI on terms and conditions acceptable to Buyer, in its sole discretion (the "CMI

   Acquisition"), including but not limited to all indemnity and other rights of such Sellers against
   CMI or any seller parties or affiliates thereof in connection with such CMI Acquisition or, if the
   CMI Acquisition has been consummated before Closing, the assignment, without additional
   Purchase Price, of all assets and obligations acquired in connection with the CMI Acquisition on
   terms and conditions acceptable to Buyer, in its sole discretion;

                  (h) Certificates of Title. Ceiiificates of title, duly endorsed to Buyer for transfer, of
   all automobiles and other vehicles included in the Purchased Assets;

                      Good Standing Certificates. Certificates, dated not more than ten business days
                          (i)

   prior to the Closing Date, of any state of the United States or any other jurisdiction where any
   Seller is qualified to do business providing that the applicable Selling Entity is in good standing;

                          (j)Security Agreement. The Security Agreement and all documents related
   thereto, in form and substance acceptable to Buyer, Sellers and the Prior Lienholders, signed by
   Sellers.

                          (k)Third Party Consents, Copies of all "Mandatory Consents" identified on
   Schedule 4.1 and other consents and approvals, tì'om Governmental Authorities, whether federal,
   state or local shall have been obtained, and a copy of each such consent or approval shall have
   been provided to Buyer at or prior to the Closing;

                          (I)Lease Assignments. Assignments in forms reasonably satisfactory to Buyer,
   assigning Sellers' rights and obligations under the Space Leases, duly executed by the applicable
   Seller or, absent such an assignment, a valid sublease in form and substance acceptable to Buyer
   and upon economic terms equivalent to an assignment with respect to any leased premises under a
   Space Lease for which an assignment cannot be obtained;

                          (m)Factored AIR Confirmation. Confirmation and agreement between Buyer,
    Sellers and Madison Resource Funding, in form and substance reasonably satisfactory to Buyer,
    regarding the amount (adjusted for customer discounts), settlement and other terms of trade
    accounts receivable that have been tàctored by Madison Resource Funding as of the Closing Date


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   and the termination of such factoring arrangement as of the Effective Time, or as of the close of
   business on December 29,2007 should the Closing occur on or prior to January 11,2008;

                        (n)Closing Certificate. A closing certificate executed on behalf of Sellers
   confirming the matters refeiTed to in Sections 4, 5 and 10 hereof;

                        (o)Escrow Agreement. The Escrow Agreement signed by Sellers;

                        (p)Allocation of
                                                  Purchase Price. The allocation of   Purchase Price as required and
   agreed upon by Sellers and Buyer pursuant to Section 2.5.

                  (q)Other Documents. Such other documents, instruments or writings required to
   be delivered by a Seller Party to Buyer at or prior to the Closing pursuant to this Agreement and
   such other documents and instruments as Buyer or its counsel reasonably shall deem necessary to
   consummate the transactions contemplated hereby. All documents delivered to Buyer shall be in
   form and substance reasonably satisfactory to Buyer.

             3.3Closing Deliveries of Buyer. At the Closing, Buyer will execute and deliver or cause
   to be executed and delivered, as applicable, to Sellers:

                         (a)Cash Consideration. The Cash Consideration payable at Closing under Section
   2.2(b) hereof;

                         (b)Escrow Agreement. The Escrow Agreement signed by Buyer;

                         (c)Security Agreement. The Security Agreement and all documents related
   thereto, in form and substance acceptable to Buyer, Sellers and the Prior Lienholders, signed by
   Buyer;

                         (d)Allocation of Purchase Price. The allocation of Purchase Price as required and
   agreed upon by Sellers and Buyer pursuant to Section 2.5;

                         (e)Promissory Note. The Promissory Note;

                  mOtlier Documents. Such other documents, instruments or writings required to
   be delivered by Buyer to Sellers at or prior to Closing pursuant to this Agreement, and such other
   documents and instruments as Sellers and their counsel reasonably shall deem necessary to
   consummate the transactions contemplated hereby. All documents delivered to Sellers shall be in
   form and substance reasonably satisfactory to Sellers.

   4.0bligations of Sellers.

              4.1Significant Client Contracts. Sellers shall use their respective commercially
   reasonable efforts to obtain, prior to Closing, written consents from each of              the clients listed in the
   "Mandatory Consents" column of Schedule 4.1 hereto and within ninety (90) days after Closing,
   written consents of all other clients of Sellers or CMI or both listed on Schedule 4.1 (collectively


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   with the clients requirmg Mandatory Consents, the "Significant Clients") concerning the
   assignment to Buyer of any contract which Seller has with any such clients. Alternatively, Sellers'
   obligation under this Paragraph 4.1 can be satisfied by Buyer's entering into new contracts with
   any such clients. Subject to Sections 10.3 and 3.2 hereof, in the case that Sellers are unable,
   despite their respective commercially reasonable effoits, to obtain within ninety (90) days after
   Closing any Assumed Contracts which by their terms or by virtue of their subject matter are not
   assignable without the consent of a third paity (collectively, the "Non-Assignable Contracts"),
   then Buyer shall not have any liability or obligation to Sellers, such third party or any other party

   with respect to such Non-Assignable Contract except as set forth below. In the event that Closing
   occurs and any Non-Assignable Contract has not been assigned to Buyer for any reason within
   ninety (90) days after the Closing Date, then Sellers shall use their respective commercially
   reasonable efforts to enter into an alTangement to provide Buyer the benefits of such Non-
   Assignable Contract, including pursuant to a management agreement in form and substance
   mutually agreeable to Sellers and Buyer. If Sellers shall have made such arrangements acceptable
   to Buyer with respect to any Non-Assignable Contract, Buyer will assume the obligations under
   such Non-Assignable Contract to be performed on and after the Effective Time and will perform
   and fulfill such obligations as though such Non-Assignable Contract has been assigned to Buyer.

   In that event, Buyer shall receive all economic and other benefits under such Non-Assignable
   Contracts. If Sellers, after complying with their obligations set out above, cannot enter into an
   arrangement to provide Buyer the economic and other benefits of a Non-Assignable Contract, then
   Sellers, if so requested by Buyer, shall have the right to take all action necessary to terminate the
   Non-Assignable Contract ili accordance with its terms.

                  4.2Workers' Compensation Insurance. Each Seller has provided information to Buyer
   prior to Closing of its claims history and losses for workers' compensation for the years 2003,
   2004, 2005, 2006 and 2007 to date, to the extent such Seller was an Affiliate of any Seller or
   PrincipaL.



           4.3Conduct of Business. Between the Execution Date of this Agreement and the Closing,
   Sellers will:

                          (a)conduct the Business only in the ordinary course of business, except that Sellers
   shall be permitted to acquire up to 47% of the outstanding shares of APS from remaining
   shareholders and 2% of the shares of Infinity from John Bonade, acquire CMI in the CMI
   Acquisition pursuant to terms acceptable to Buyer, in its sole discretion, and may enter into the
   employment or consulting agreements pursuant to Section 3.2 (g) hereof;

                    (b )except as otherwise directed by Buyer in writing, and without making any
   commitment on Buyer's behalf, use their respective commercially reasonable efforts to preserve
   intact their current business organizations, keep available the services of their officers, employees
   and agents and maintain their relations and good will with suppliers, customers, landlords,
   creditors, employees, agents and others having business relationships with Sellers or any of            them;

                          (c)confer with Buyer prior to implementing operational decisions of a material
   nature;


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                 (d)maintain the Purchased Assets in a state of repair and condition that complies
   with Legal Requirements and is consistent with the requirements and normal conduct of Sellers'
   Business;

                   (e)keep in full force and effect, without amendment, all material rights relating to
   Sellers' Business;

                         (f)otherwise report periodically to Buyer concerning the status of the business,
   operations and finances of Sellers; and

                         (g)use their respective commercially reasonable effoits to cause the conditions in
   Section 10 hereof to be satisfied.

                4.4No Related Party Payment. From August 31, 2007 until the Effective Time, Sellers
   shall not make any payment or distribution to a Related Person other than for base compensation
   payable to such Related Person in the ordinary course of business for bona fide work performed for
   a Seller, including but not limited to any payment or distribution in connection with any bonuses,
   incentive compensation, separate but related transaction or transactions affecting another business
   entity or any of its assets or securities and to any indebtedness for money borrowed, including
   payables, retirement liabilities and guaranties.

           4.5No Negotiation. Until such time, if any, as this Agreement is terminated pursuant to
   Section 12 hereof, Sellers and Principals will not, and will cause each of its officers, directors,
   managers, employees, agents, consultants, advisors, legal counsel and other representatives to not,
   directly or indirectly solicit, initiate, encourage or enteitain any inquiries or proposals from,
   discuss or negotiate with, provide any nonpublic information to or consider the merits of any
   inquiries or proposals from any person (other than Buyer) relating to any business combination
   transaction involving any Seller (other than the CMI Acquisition), including the sale of such
   Seller's business or any of the Purchased Assets (other than in the ordinary course of  business).
   Sellers will notifY Buyer of any such inquiry or proposal within twenty-four (24) hours of receipt
   or awareness of         the same by any Seller.

           4.6Employment of Staff. Sellers shall be fully responsible, up to 11 :59 p.m. on the day
   immediately preceding the Closing Date (the "Effective Time"), for the employment of each of
   their respective staff, temporary and temp-to-hire employees and for the payment of all salary,
   wages, commissions, and reimbursements for all business expenses actually incurred up to the
   Effective Time, and Sellers shall be responsible for paying all federal and state payroll and
   unemployment taxes up to the Effective Time. Principals shall assist Buyer in offering new
   employment with Buyer to Sellers' employees and in transitioning to Buyer those employees who
   accept such ofíèr; provided, however, that neither Sellers nor Principals make any representation or
   waii'anty regarding whether an employee of the Business will agree to continue as an employee
   after Closing. Buyer agrees that it will offer employment to all staff and temporary employees of
   the Business effective as of 12:00 a.m. on the Closing Date on such terms as desired by Buyer.

   Sellers and Principals acknowledge that Buyer is an "at will" employer and that all of its staff and
   temporary employees are "at will" employees and that any representation to the contrary to any
   potential employee of Buyer would be misleading. In the event that the Closing occurs on or

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   before January 11, 2008, Buyer agrees to pay the normal wages of Seller's employees, consultants
   and sub-contractors for work performed during the period from December 30, 2007 until the
   Closing Date so long as all revenues of Sellers and the Business for the same period are retained by
   Buyer.

              4.7Employment of Principals. At the Closing, Buyer shall enter into employment or
   consulting agreements with Fox, Forino and JDM Corporation in the forms to be mutually agreed
   upon by Buyer and such persons.

              4.8Assignments. On the Closing Date, Sellers shall assign and convey to Buyer the Space
   Leases, any equipment leases, all telephone and fax numbers, internet addresses, domains,
   directory listings and websites used by Sellers in the conduct of the Business and deliver to Buyer
   keys to the business premises governed by the Space Leases, and all file drawers, all computer user
   names and codes, and all premises access codes so as to enable Buyer to be able to operate
   computers and utilize equipment included in the Purchased Assets. In lieu of assignment of the
   Space Lease for the New York Location, Sellers shall, if permitted under the terms of such lease,
   sublet the New York Location to Buyer, on the same terms as the original Space Lease for such
   New York Location. Sellers shall execute all instruments necessary to transfer to Buyer and shall

   otherwise assist Buyer in acquiring all rights to telephone and fax numbers, internet addresses and
   domains and Sellers' corporate names, provided, however, that Sellers shall not be obligated to pay
   any transfer or similar fees in connection with same. In the event that Buyer shall not desire to
   continue any telephone or fax numbers, websites or internet addresses of Sellers, at the request of
   Buyer, Sellers shall execute all instruments and take such actions as may be reasonably necessary
   to abandon Sellers' rights to the same.

              4.9Conveyances of Assets. At Closing, each Seller shall deliver the Purchased Assets and
   Assumed Contracts, to the extent that such are deliverable, to Buyer, and each Seller and Buyer
   shall execute and deliver to each other at Closing a Bill of Sale and Assignment in form attached
   hereto as Exhibit "D."

          4.10Licenses and Permits. At Closing, Sellers shall execute such documents as may be
   reasonably necessary to transfer to Buyer all licenses and permits pertaining to the Business to the
   extent the same are transferable. Sellers make no representation or warranty of any nature
   whatsoever that such licenses and/or permits are transferable.

   5.Accounts Payable/Receivable/Refunds

              5.1Limited Assumption of Liabilities. Except for the Assumed Liabilities, Buyer shall

   not assume any accounts payable, debts or other monetary obligations of Sellers or any claims
   against Sellers or Principals related to the operation ofthe Business or ownership of               the Purchased
   Assets prior to Closing.

              5.2Client Billing. Sellers shall be responsible for billing and shall invoice their customers
   up to the Effective Time (the "Billing Cutovei' Time"): (a) for the services of all temporary
   employees on assignment at customers of Sellers and (b) for the placement of all direct hires
   actually placed with its clients as permanent or part time employees who have begun employment

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   before the Closing, provided however, that in the event the Closing occurs on or before January 11,
   2008, Sellers will not bill or invoice their customers for services performed from the period of
   December 30, 2007 until the Closing Date. Sellers agree that should the Closing occur on or
   before January 11, 2008, all revenues of the Business from or generated in the period from
   December 29,2007 and thereafter shall be turned over to Buyer so long as Buyer complies with its
   obligations for the same period pursuant to Section 4.6 hereof. Sellers shall convey and otherwise
   assign to Buyer all accounts receivable ofthe Business as of the Closing Date except those that are
   factored by Madison Resource Funding (the "Accounts Receivable"), which Accounts Receivable
   are listed on Exhibit "E." Sellers agree to not factor any Accounts Receivable or revenues of the
   Business after or attributable to any time after December 29,2007 unless the Closing fails to occur

   for any reason on or before January 11,2008.

          5.3Client Payments and Claims. Following Closing, Sellers shall remit to Buyer any
   payments for services rendered by Buyer after the Effective Time. Buyer shall remit to Sellers any
   refunds paid by third paities, such as customers or suppliers, relating to the conduct ofthe Business
   prior to the Closing Date. Sellers shall be responsible for any claims by third parties, such as
   warranty claims, fall offs for permanent placements, or claims for renmds of                               placement, consulting
   and other fees by customers of Sellers that relate to the conduct ofthe Business prior to the Closing
   Date, except that Buyer shall be responsible for all such claims that are made by customers for
   which an account receivable was transferred to Buyer as pait of                                 the Accounts Receivable. Should
   any Seller fail to make any such payments which it is legally obligated to make, Buyer may make
   such payments on such Seller's behalf and such Seller shall promptly reimburse Buyer for any
   such amounts so paid by Buyer.



   6.Adjustments, Pro-rations and Reimbursements

          Subject to Section 4.6 hereof, adjustments, pro-rations and reimbursements related to the
   operation of the Business for the month in which Closing shall occur shall be made as of the
   Closing Date, prorating any prepaid or accrued expenses of                               the Business, including, but not limited
   to, utility charges, contract payments, personal property taxes, lease expenses and deposits,
   employee compensation and all other expenses of                            the Business.

   7.Representations and Warranties of Sellers

          Sellers, jointly and severally, represent and warrant to Buyer that representations and
   warranties of any Seller or Sellers and the statements of any Seller or Sellers contained in this
   Agreement are true and correct in all material respects as of the date of this Agreement. As a
   material inducement for Buyer to enter into this Agreement and to effect and close the transaction
   herein set forth, Sellers hereby, jointly and severally, represent, warrant and agree as follows:

                 7.1Corporate Status, Title, Assumed Contracts, Ownership of Purchased AssetsL
   Operation of Business.

                 (a)This Agreement constitutes the legal, valid and binding obligation of Sellers and
   Principals, enforceable against each of them in accordance with its terms, except as such
   enforceability shall be limited by applicable bankruptcy, reorganization, insolvency, fraudulent


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   conveyance and other laws governing creditors' rights in general and except as limited by
   applicable principles of equity. Infinity and ICG are each a limited liability company, duly
   organized, validly existing and in good standing under the laws of the State of New York. APS is
   a corporation, duly organized, validly existing and in good standing under the laws of the State of
   Delaware. Infinity DR is a company duly organized, validly existing and in good standing under
   the laws of Dominican Republic. Sellers have all requisite power and authority to carryon their
   Business as now being conducted and to operate the Business in the offices demised under the
   Space Leases and the Purchased Assets as now owned, leased or operated, and to perform all their
   obligations under the agreements and instruments to which Sellers, or any of them, are a paity or
   by bound, including, but not limited to, the Assumed Contracts. The copies of Articles of
   Incorporation, bylaws and other organizational documents, as amended to date, of each Seller
   which have been or shall be delivered to Buyer at least two business days prior to Closing, are
   complete and correct and such documents as so amended are in full force and effect. At Closing,
   each Seller shall deliver to Buyer resolutions duly adopted by the shareholders or members and
   Directors or Managers, as applicable, of such Seller authorizing the execution, delivery and
   performance of this Agreement by such Seller, duly certified by the corporate secretary of such
   Seller.




                   (b )Each Seller has the full right, power and legal authority to execute, deliver and
   perform this Agreement. This Agreement has been duly executed and delivered by each Seller.
   Neither the execution and delivery or the performance of this Agreement by any Seller shall: (a)
   result in any violation of the Articles of Incorporation or organizational document of such Seller,
   (b) constitute a breach of any agreement or order to which Seller is a party, (c) result in the
   violation of any federal, state or local law, or (d) result in the imposition or creation of any charge,
   equitable interest, lien, option, pledge, security interest or right of refusal with respect to the
   Purchased Assets.

                  (c)Neither the execution and delivery of this Agreement, the consummation of the
   transactions contemplated hereby nor the compliance by any Seller with any of the provisions
                                                                       time, or both) result in a breach
   hereofwill directly or indirectly (with or without notice or lapse of

   of or default under any of the terms, conditions or provisions of any note, contract, license, lease,
   pledge agreement or other obligation to which a Seller is a party or by which a Seller or any of its
   respective propeliies or the Purchased Assets may be bound.

                 (d)Sellers at Closing shall be the sole owners of all of the Purchased Assets being
   sold and purchased hereunder, free and clear of all liens, security interests, encumbrances, and
   other liabilities and obligations.

                         (e)   Sellers have delivered to Buyer true and correct copies of   the Assumed Contracts
   and Sellers have any reason to bel ieve that any of the Assumed Contracts are not in full force and
   effect. Sellers have not received written or oral notice of default from any customer of a Seller or
   written notice of the intent of any customer of a Seller. materially to reduce or discontinue the use
   of Seller's services or otherwise to curtail the level of its business with such Seller.




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                 (f)No Seller has sought classification as a minority-owned or woman-owned
   business enterprise for the purpose of being awarded any contract or business based upon such
   classification.

                         (g)Principals will at Closing own approximately 98% of the issued and outstanding
   shares of Infinity, with the remaining approximately 2% owned by Mario Linale and Michael
   Schaab. Infinity will at Closing own approximately 91% of APS, with the remaining
   approximately 9% owned by Logical Options, Inc. APS owns and will at Closing own all ofICG.
   Infinity owns and will at Closing own most of Infinity DR. There are no contracts, agreements,
   warrants, orders or decrees in effect relating to the issuance, sale, pledge or transfer of any
   ownership interest in any of Sellers.

                 (h)Since January 1, 2002, Sellers have conducted business only under the names
   and marks Infinity, APS, ICG, CMI, DSL Group, and Pro Vision Solutions and no other names or
   marks.

                         (i)   Since January 1, 2004, Sellers have maintained offices at only the Locations and
   the following locations (Tx address.)


                         mNo Seller is in default under any Space Lease or under any leases or licenses for
   office furniture, computers, software, copiers, fax machines and other office equipment.




                         (k)No Seller is in default under any contract with any Significant Clients or under
   any of         the Assumed Contracts.

                         (I)The Purchased Assets and Assumed Contracts are substantially all of the assets
   currently used by Sellers in the conduct of    the Business.

                  7.2Undisclosed Liabilities/Legal Compliance.

                   (a)Each Seller is in full compliance with all federal, state, local, municipal or other
   law, order or ordinance and each approval, consent, license or permit ("Legal Requirements")
   that is or was available to it for the conduct of the Business and the ownership of its assets other
   than, in each case, any such failure to be in compliance which would not have a material adverse
   effect on the Business.

                  (b)Except as disclosed on Schedule 7.2(b) hereof, to Seller's knowledge, there are
   no claims, lawsuits, investigations or proceedings pending, threatened against or relating to the
   Business or the Purchased Assets or the Assumed Contracts, nor do Sellers know of any basis for
   any such action. In addition, no Seller has received notice of any condemnation proceeding in
   connection with the premises subject to the Space Leases and no Seller has permitted any
   mechanic's or materialman's or other liens to                          be filed against the premises subject to the Space
   Leases. No Seller Party is subject to any order in which relief is sought which would prevent,
   delay or make illegal the transactions contemplated by this Agreement, and there are no legal
   proceedings pending or to the best knowledge of Sellers, threatened against a Seller Party before


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   any arbitrator, couit or governmental authority which, individually or in the aggregate, would
   affect materially and adversely the ability of any Seller Party to perform its obligations hereunder.

                   (c)Neither this Agreement, nor any ceitificate, financial statement or document
   furnished or to be furnished to Buyer, its agents or representatives, by a Seller Party pursuant to
   this Agreement, contains or will contain, as of the date thereof, any untrue statement of a material
   fact or omits or will omit to state a material fact necessary to make the statements therein, in light
   ofthe circumstances in which they are made, not false or misleading.

                (d)The financial statements and books of account and other records of Sellers, all of
   which have been made available to Buyer, are complete and correct in all material respects and
   have been maintained in accordance with good business practices. Schedule 7 .2( d) sets foith the
   reviewed financial statements of Sellers as of the years ending December 31, 2005 and 2006, as
   well as the internally prepared statements through the period ending August 31, 2007 (the
   "Financial Statements"). There has been no material adverse change in the financial condition of
   the Business that is not reflected in the Financial Statements.

                  (e)All of the employee benefit plans or welfare plans of Sellers have complied in
   form and in operation in all material respects with the applicable requirements of the Internal
   Revenue Code of 1986 and the Employee Retirement Income Security Act of 1974, as amended.
   All contributions and insurance premiums that are due and payable in connection with a Seller's
   employee benefits plans and welfare plans on or before the Closing Date related to any period prior
   to Closing have been paid in full or will be paid in full by such Seller.

                         (t)There has been no material adverse change in a Seller's business relationship
   with Significant Clients during the two (2) year period preceding Closing.

              7.3Title to and Condition of             Property/Status of Assumed Contrac!s.

                   (a) Sellers will convey good and marketable title to the Purchased Assets described

   herein and in Exhibits "A" and "B" hereto, free and clear of any liens, mortgages, pledges, security
   interests, charges or encumbrances of any nature whatsoever other than the Assumed Liabilities.

                         (b)Sellers represent and warrant that to their actual knowledge there are no
   violations of zoning laws, building or fire laws, statutes or ordinances relating to the Purchased
   Assets and/or operation of the Business at the premises subject to the Space Leases.

                         (c)   Except as disclosed to Buyer, no Seller is party to any service, maintenance or
   other similar contract relating to maintenance of        the premises subject to the Space Leases.

                   (d)No Seller Party has received written notice within two (2) years preceding its
   signing of this Agreement, from any federal, state or local government agency alleging a violation
   with respect to any federal, state or local law, ordinance, regulation or guideline regulating or
   imposing standards of conduct concerning any "Hazardous Substances" and no Seller Paity has
   received notice of any violation with respect to the Property relating to any "Hazardous
   Substances." The term "Hazardous Substances" as used herein shall mean any flammable

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   explosives, pollutants, contaminants, radioactive materials, hazardous wastes, hazardous air
   pollutants, toxic substances or related materials, including, without limitation, asbestos, PCBs,
   lead, mercury, arsenic, petroleum products and by-products, substances defined or listed as
   "hazardous substances" or "toxic substances" or similarly identified in or pursuant to the
   Comprehensive Environmental Response, Compensation and Liability Act of 1980, as amended,
   42 U.S.C. Section 9601, et seq., hazardous wastes identified in or pursuant to The Resource
   Conservation and Recovery Act, 42 U.S.C. Section 6901, et seq., any chemical substance or
   mixture regulated under the Toxic Substances Control Act of 1976, as amended, 15 U.S.c. Section
   2601, et seq., any "toxic pollutant" under the Clean Water Act, 33 U.S.C. Section 466, et seq., any
   hazardous air pollutant under the Clean Air Act, 42 U.S.c. Section 7401, et seq., any federal, state
   or local so-called "Superfund" or "Super-lien" laws and any hazardous or toxic substance or
   pollutant regulated under or governed by any other federal, state or local laws (statutory and
   common law).

                   (e) Sellers (a) own all rights (either through ownership or by rights of license or

   other rights to use) to use the Intellectual Property (as defined in Exhibit "A") and Confidential
   Information (as defined in Exhibit "A") fi'ee and clear of all liens, claims and encumbrances; (b) to
   the best knowledge of each Seller, have not infi'inged, nor are infi'inging, upon the rights of others
   with respect to the Intellectual Property or the operation of the Business; and (c) have not received
   any written notice of conflict with the asserted rights of others with respect to any of the
   Intellectual Property, Confidential Information and the operation of                                   the Business, and Seller Parties
   know of no basis therefor.

              7.4Taxes.

                         (a)Each Seller has filed or caused to be filed on a timely basis all federal, state and
   local tax returns that are or were required to be filed by or with respect to such Seller. Each Seller
   has delivered to Buyer true, complete and correct copies of all such tax returns for 2004, 2005,
   2006 and 2007 to date, and no Seller has received notice or correspondence from any taxing
   authority with respect to such tax returns. Each Seller has properly made, reported and remitted all

   applicable federal, state and local payroll deductions and taxes including, FICA, FUTA, SUTA and
   income tax withholdings presently due and owing and all applicable sales and use taxes presently
   due and owing as ofthe date hereof.




                         (b)Each Seller has paid in full all tax or other liens, security interests and other
   encumbrances in favor of   the Department of    the Treasury, United States Internal Revenue Service
   ("IRS"), or any other federal, state or local governmental body or agency.

                  (c)The federal and state iricome tax returns of each Seller have never been audited
   by the IRS or any relevant state authorities. No Seller Party has ever given or been requested to
   give waivers or extensions (or is or would be subject to a waiver or extension given by any other
   person) of any statute of limitations relating to the payment of taxes of such Seller Paity or for
   which such Seller Paity may be liable. Seller Parties agree that any and all expenses connected
   with any audit or similar investigation by the IRS or any other state or federal governmental entity
   with regard to a tax return or similar document filed or to have been filed prior to the date of this


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   Agreement shall be bome in full by Seller Parties, that Buyer has not assumed any liability for
   such taxes, and that the liability for any taxes incurred prior to the Closing Date shall be and
   remain the liability of Seller Parties.

                         (d)All tax retums filed by each Seller are true, conect, and complete in all material
   respects. All material items of income, gain, loss, deduction and credit or other such items
   required to be included in each such tax retum have been so included and all such items, any other
   infol1nation provided in each such tax retum are true, correct and complete. All tax withholding
   and deposit requirements have been satisfied in full in all respects and there are no moiigages,
   pledges, liens, encumbrances, charges or other security interests on any of the Purchased Assets
   that arose in connection with any failure or alleged failure to pay any taxes, and there is no tax
   sharing agreement that will require any payment by a Seller after the Closing Date.

                    (e)Definitions. For purposes of this Agreement, "tax" or "taxes" means any tax
   (including any income tax, capital gains tax, value-added tax, sales ta'í., property tax, gift tax, or
   estate tax), levy, assessment, tariff, duty (including any customs duty), deficiency, or other fee, and
   any related charge or amount (including any fine, penalty, interest, or addition to tax), imposed,
   assessed, or collected by or under the authority of any federal, state or local govemmental body or
   taxing authority or payable pursuant to any tax-sharing agreement or any other contract relating to
   the sharing of  payment of  any such tax, levy, assessment, tariff, duty, deficiency or fee.

                 7.5Accuracy ofInformation and Disclosure.

          Each of the Documents delivered by Sellers to Buyer in connection with Buyer's conduct
   of due diligence are materially true, correct and complete copies of the originals of each such
   Document and each such Document has not been modified, amended, superseded or otherwise
   modified in any material respect except as disclosed to Buyer. For purposes of          this Subparagraph,
   "Documents" shall include, but shall not be limited to,~ office and personal property leases,
   licenses, ceiiificates, registrations, pleadings, claims, citations, estimates, valuations, appraisals,
   returns, liens and security agreements, reports, accounts, handbooks, benefit plans, promotional
   materials, insurance policies, loss runs, powers of attomey, inventories, notes and loans payable
   and any other thing listed in this Agreement or provided by a Seller Party to Buyer in connection
   with Buyer's conduct of due diligence or negotiation of this Agreement. Documents shall not
   include any of the materials fumished to Buyer by any brokers or agents for any Seller Party,
   unless such materials were obtained from Sellers.

   8.Representations and Warranties of Buyer

           Buyer represents and warrants to Sellers that the statements of Buyer contained in this
   Article are true and correct as of the date of this Agreement. As a material inducement for Sellers
   and Principals to enter into this Agreement and to effectuate and close the transaction herein set
   foi1h, Buyer hereby represents, warrants and agrees as follows:

          8.10rganization and Authority. Buyer is a corporation, duly organized, validly existing
   and in good standing under the laws of the State of Georgia. Buyer has all requisite power and
   authority to carryon its business as now being conducted and to own, lease and operate its

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                                                            Buyer's Aiiicles ofIncorporation and
   properties as now owned, leased or operated. The copies of

   bylaws, as amended to date, which have been delivered to Sellers are complete and correct and
   such instruments as so amended are in full force and effect.



                  8.2Authority Relative to Agreement. Buyer has the full right, power and legal authority

   to execute, deliver and perform its obligations under this Agreement. This Agreement has been
   duly executed and delivered by Buyer, and is a valid and binding Agreement of                            Buyer, enforceable
   against Buyer in accordance with its terms.

          8.3Consents and Approvals/No Violation. Neither the execution and delivery of this
   Agreement, the consuimnation of the transactions contemplated hereby, nor the compliance by
   Buyer with any of the provisions hereof, will result in a breach of or default under, any of the
   terms, conditions or provisions of any note, contract, license, lease, pledge agreement or other
   obligation to which Buyer is a party or by which Buyer or any of its respective propeiiies or the
   Purchased Assets may be bound.

                  8.4Legal Proceedings. Buyer is not subject to any order in which relief is sought which
   would prevent, delay, or make illegal the transactions contemplated by this Agreement, and there
   are no legal proceedings pending or threatened against Buyer before any arbitrator, couii or
   governmental authority which, individually or in the aggregate, would affect materially and
   adversely Buyer's ability to perform its obligations hereunder.

                  8.5Solvency. Immediately after the consummation of the transactions contemplated under
   this Agreement, Buyer will have positive net woiih (calculated in accordance with GAAP), will

   not be insolvent (as defined under the U.S. Bankruptcy Code) and will have adequate capitalization
   to pay its debts as they mature.

           8.6Prior Lienholders. As of Closing, the Prior Lienholders of Buyer are Sun Trust Bank,
   due to a loan having a current outstanding balance' of approximately Two Million Five Hundred
   Thousand Dollars ($2,500,000) on the date of such Closing.

   9.Survival of            Representations and WalTanties/ Indemnities

                  9.1Survival of Representations and Warranties. All representations, warranties, and
   indemnifications of the parties herein set forth shall be effective as of the date of this Agreement,
   and shall continue in full force and effect at and shall survive the Closing for a period ofthirty (30)
   months after the Closing Date. All parties hereto agree that its right to obtain or obligation to
   provide, indemnification under this Section 9 shall extend beyond thiiiy (30) months after the
   Closing Date, until fully satisfied, for any claim for which the indemnifying paiiy shall have
   received notice of claim pursuant to Section 9.4 hereof prior to the expiration of such thirty (30)
    month period. Notwithstanding anything in this Agreement to the contrary, Sellers shall not have
    any indemnification obligation under Sections 9.2 (a) or (c) hereof unless such a claim or item is
    equal to or greater                                                                  all Allowed
                                   than $1,000 (an "Allowed Claim") and (ii) the aggregate amount of

    Claims equals or exceeds $2,500 and then only for such amounts by which all such claims or items
    exceed such $2,500.



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              9.2Indemnification by Sellers. Sellers hereby jointly and severally, indemnify and hold
   Buyer and its officers, directors, stockholders, members, managers and assignees harmless fi-om
   and against any and all losses, claims, liabilities, damages or obligations including, but not limited
   to, any and all collection costs, reasonable àttorneys' fees and other costs of litigation arising out or
   resulting from (a) the operation of   the Business or ownership of   the Purchased Assets prior to the
   Closing Date, (b) any breach of     any representation, warranty, covenant or agreement by a Seller or
   Principal set forth in this Agreement or the Security Agreement or any subordination or
   intercreditor agreement with any Prior Lienholders, (c) any liabilities or obligations of a Seller or
   Principal other than the Assumed Liabilities; (d) any noncompliance with any federal, state or local
   law or regulation applicable to Sellers or any of them, in connection with the transactions
   contemplated herein, and (e) any actions, suits, proceedings, demands, judgments, costs, legal fees
   and other expenses incident to any of                   the foregoing.

               9.3Indemnification by Buyer. Buyer hereby indemnifies and holds Sellers, and their
   officers, directors, stocldl01ders, members, managers and Principals, and each of them, harmless
   from and against any and all. losses, claims, liabilities, damages or obligations, including, but not
   limited to, any and all collection costs, reasonable attorneys' fees and other costs of litigation
   arising out of or resulting from: (a) the operation of the Business or ownership of the Purchased
   Assets on and after the Closing Date; (b) any breach of any representation, warranty, covenant or
   agreement of Buyer set foith in this Agreement: (c) any Assumed Liabilities; (d) any
   noncompliance with any federal, state or local law or regulation applicable to Buyer in connection
   with the transactions contemplated herein, and (e) any actions, suits, proceedings, demands,
   judgments, costs, legal fees and other expenses incident to any ofthe foregoing.

         9.4Indemnification Process. Upon becoming aware of any claim for which an
   indemnified party is entitled to indemnification hereunder, the indemnified party shall give the
   indemnifying party prompt notice of such claim, with reasonable details regarding same. In
   connection with any claim giving rise to indemnity hereunder resulting fi-om or arising out of any
   claim or legal proceeding by a person other than the indemnified party, the indemnifying paity at
   its sole cost and expense may, upon written notice to the indemnified party received by the
   indemnified party within thiity (30) calendar days after the indemnifying party's receipt of notice
   of such claim, assume the defense of any such claim or legal proceeding ("Indemnified Party

   Controlled Claims"). If the indemnifying party assumes the defense of any such claim or legal
   proceeding, the indemnifying party shall select counsel reasonably acceptable to the indemnified
   party to conduct the defense of such claim or legal proceeding and at its sole cost and expense shall

   take all steps necessary in the defense or settlement thereof. The indemnifying party shall not
   consent to a settlement of, or the entry of any judgment arising from, any such claim or legal
   proceeding, without the prior written consent of the indemnified party (which consent shall not be
   unreasonably withheld, conditioned or delayed) unless the indemnifying party admits in writing its
   liability and agrees to hold the indemnified party harmless from and against any losses, damages,
   expenses and liabilities arising out of such settlement. The indemnified paity shall be entitled to
   participate in (but not control) the defense of any such action, with its own counsel and at its own
   expense and shall be entitled to any and all information and documentation relating thereto. If   the
   indemnifying paity does not assume (or continue to diligently prosecute) the defense of any such
    claim or litigation resulting therefrom in accordance with the terms hereof, the indemnified paity




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   may defend against such claim or litigation in such manner as it may deem appropriate; provided,
   however, that the indemnified paiiy shall not settle any claim or litigation without the prior consent
   of the indemnifying party, such consent not to be unreasonably withheld, conditioned or delayed.
   The indemnified party agrees that it will not waive any statute of limitations or defense that would
   increase the liability of the indemnifying paiiy hereunder without the consent of the indemnifying
   paiiy.

              9.5Punitive Damages, Subrogation. The parties hereto shall be entitled to
   indemnification under this Section 9 for punitive and exemplary damages only to the extent that
   such damages arise as a result of awards of punitive or exemplary damages against such paiiy in
   favor of third paiiies. Upon payment in nill of any claim for indemnification under Section 9.2 or
   9.3, the indemnifying party shall be subrogated to the extent of such payment to the rights of the
   indemnified party against any person or entity with respect to the subject matter of such third party

   claim.

          9.6Claim Against Escrow. Upon notice to Sellers specifying in reasonable detail the basis
   therefore, Buyer may give notice of a claim under the Escrow Agreement for any amount for
   which it may be entitled under this Section 9. Neither the exercise of nor the failure to give a
   notice of claim under the Escrow Agreement will constitute an election of remedies or limit Buyer
   in any manner in the enforcement of any other remedies that may be available to it.



   10.CONDITIONS TO THE BUYER'S OBLIGATION TO CLOSE.

          The Buyer's obligation to purchase the Purchased Assets and to take the other actions
   required to be taken by the Buyer at the Closing is subject to the satisfaction, at or prior to the
   Closing, of each of           the following conditions (any of                 which may be waived by the Buyer in whole
   or in paii):

              10.lAccuracy of Reprešentations. All of the Seller Paities' representations and
   warranties in this Agreement (considered collectively), and each of such representations and
   warranties (considered individually), shall have been accurate in all material respects as of                    the date

   of this Agreement and shall be accurate in all material respects as of the time of the Closing as if
   then made.

          10.2Seller Party Performance. All of the covenants and obligations that a Seller Party is
   required to perform or to comply with pursuant to this Agreement at or prior to the Closing
   (considered collectively), and each of such covenants and obligations (considered individually),
   shall have been duly performed and complied with in all respects. Each document to be delivered
   by any Seller pursuant to Section 3.2 must have been delivered.

          10.3Consents. Each of the Mandatory Consents listed on Schedule 4.1 hereto, the
   consents of the Prior Lienholders, and all other approvals, consents, ratifications, waivers or other
   authorizations required to be obtained at or prior to Closing in connection with the transactions
   contemplated by this Agreement shall have been obtained and shall be in nill force and effect.




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                  10.4No Proceedings. Since the date of this Agreement, there shall not have been
   commenced or threatened against the Buyer or any Seller, or against any affiliate of the Buyer or
   any Seller, any proceeding (a) involving any challenge to, or seeking damages or other relief in
   connection with, any of   the transactions contemplated in this Agreement or (b) that may have the
   effect of preventing, delaying, making illegal, imposing limitations or conditions on or otherwise
   interfering with any of such transactions.

                  10.5No Conflict. Neither the consummation nor the perfol1nance of any of the
   transactions contemplated in this Agreement will, directly or indirectly (with or without notice or
   lapse of time or both), contravene or conflict with or result in a violation of or cause the Buyer or
   any affiliate of the Buyer to suffer any adverse consequence under (a) any applicable law, rule,
   regulation or order or (b) any applicable law, rule, regulation or order that has been published,
   introduced or otherwise proposed by or before any governmental body.

                  10.6Governmental Authorizations. The Buyer shall have received such governmental
   authorizations as are necessary or desirable to allow Buyer to operate the Business and Purchased
   Assets from and after the Closing.

                  10.7Employees. Those employees of the Sellers identified on Schedule 10.7 shall be
   available for hiring by the Buyer on and as of                      the Closing Date.

                  10.8Interim Financial Statements. The Sellers shall have provided to the Buyer a
   balance sheet of Sellers dated as of                  November 2007, and if applicable, as of the end of the fiscal
   month of Sellers ending immediately prior to the Closing Date.

           10.9Contracts Upon Other Than Normal Terms and Conditions. The Buyer shall have
   satisfied itself that no Seller has entered into any contract or other arrangement other than in the
   ordinary course of business and upon substantially prevailing market prices and upon substantially
   prevailing other terms and conditions customary among businesses in the same type of business as
   the Sellers.

                  10.10Material Adverse Change. There shall not have occurred any material adverse
   change in the Purchased Assets, the Assumed Liabilities, the Assumed Contracts or the financial or
   other condition or prospects ofthe Business or any or all of Sellers.

                  10.11CMI Acquisition. Sellers shall have consummated the CMI Acquisition and
    assigned all rights of purchaser or buyer in connection with the CMI Acquisition, and Buyer shall

                                                 buyer in connection with the CMI Acquisition, all in
    have assumed the liabilities and obligations of

    form and substance acceptable to Buyer and Sellers.

            10.12Collateral Security. The Security Agreement and all related documents shall be in
    form and substance acceptable to Buyer, Sellers and the Prior Lienholders, and such documents
    shall be executed and delivered by the parties thereto.




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   lL.CONDITIONS PRECEDENT TO SELLER'S OBLIGATION TO CLOSE

              Each Seller's obligation to sell the Purchased Assets and to take the other actions required
   to be taken by the Sellers at the Closing is subject to the satisfaction, at or prior to the Closing, of
   each ofthe following conditions (any of       which may be waived by Sellers in whole or in paii):

              1l.lAccuracy of Representations. All of the Buyer's representations and warranties in
   this Agreement (considered collectively), and each of such representations and warranties
   (considered individually), shall have been accurate in all material respects as of the date of this
   Agreement and shall be accurate in all material respects as of the time of the Closing as if then
   made.

              1l.2The Buyer's Performance. All of the covenants and obligations that the Buyer is
   required to perfol1n or to comply with pursuant to this Agreement at or prior to the Closing
   (considered collectively), and each of such covenants and obligations (considered individually),
   shall have been performed and complied with in all material respects. Each document to be
   delivered by Buyer pursuant to Section 3.3 hereof       shall have been delivered.

              1l.3No Injunction. Since the date of this Agreement, there shall not have been
   commenced or threatened against any Seller or Buyer, or against any affiliate of a Seller or Buyer,
   any proceeding (a) involving any challenge to, or seeking damages or other relief in connection
   with, any of the transactions contemplated in this Agreement or (b) that may have the effect of
   preventing, delaying, making illegal, imposing limitations or conditions on or otherwise interfering
   with any of such transactions.

               ll.4CMI Acquisition. Sellers shall have consummated the CMI Acquisition and assigned
   all rights of purchaser or buyer in connection with the CMI Acquisition, and Buyer shall have
   assumed the liabilities and obligations of buyer in connection with the CMI Acquisition, all in
   form and substance acceptable to Buyer and Sellers.

           1l.5Collateral Security. The Security Agreement and all related documents shall be in
   form and substance acceptable to Buyer, Sellers and the Prior Lienholders, and such documents
   shall be executed and delivered by the parties thereto.

    12.TERMINATION

               12.1 Termination Events. By notice given prior to or at the Closing, subject to Section
    12.2, this Agreement may be terminated as follows:

                          (a)by mutual consent; or

                  (b )by the Buyer, if a material breach of any provision of this Agreement has been
    committed by a Seller and such breach has not been waived by the Buyer; or

                          (c)by a Seller, if a material breach of any provision of this Agreement has been
    committed by the Buyer and such breach has not been waived by the Sellers; or


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                            (d)by the Buyer, if any condition in Section 10 has not been satisfied as of the date
   specified for Closing in Section 3.1 or if satisfaction of such a condition by such date is or
   becomes impossible (other than through the failure of the Buyer to comply with its obligations
   under this Agreement), and the Buyer has not waived such condition on or before such date; or

                 (e)by Sellers, if any condition in Section 11 has not been satisfied as of the date
   specified for Closing in Section 3.1 or if satisfaction of such a condition by such date is or
   becomes impossible (other than through the failure of a Seller to comply with its obligations under
   this Agreement), and the Sellers have not waived such condition on or before such date; or

                             (f)by any party hereto, if the Closing has not occurred on or before January 31,
   2008 (or such later date to which the paiiies may agree), unless such terminating paiiy is in
   material breach of             this Agreement.



                  12.2Effect of Termination. Each paiiy's right of termination under Section 12. i is in

   addition to any other rights it may have under this Agreement or otherwise, and the exercise of
   such right of termination will not be an election of remedies. If this Agreement is terminated
   pursuant to Section 12.1, all obligations of the parties under this Agreement will terminate,
   provided, however, that, if this Agreement is terminated because of a breach of this Agreement by
   the non-terminating paiiy or because one or more of the conditions to the terminating paiiy's
   obligations under this Agreement are not satisfied as a result of the non-terminating party's failure
   to comply with its obligations under this Agreement, the terminating party's right to pursue all

   legal remedies will survive such termination unimpaired.

   13.Post Closing Obligations and Cooperation

           13.1Bnyer Obligations for Hired Employees. The parties agree that Buyer shall have the
   obligation to prepare and distribute all W-2's for any employee of Seller hired by Buyer as and
   when thôse W-2's are required to be filed, and Buyer shall be responsible for discharging any and
   all of Buyer's obligations, if any, under (a) COBRA; (b) the Worker Adjustment and Retraining
   Notification Act ("WARN"); (c) unemployment compensation rules and requirements, and (d) the
   FMLA, to the extent that such obligations arise from claims filed by Seller's former employees
   hired by Buyer related to the period on and following Closing. Buyer hereby covenants to
   complete all such forms and file same on a timely basis.

                  13.2Sellers' Obligations for Pre-Closing Employees. The parties agree that each Seller
    shall have the obligation to prepare and distribute all W-2's for all employees of such Seller as and
    when those W-2's are required to be filed related to the period prior to Closing and each Seller
    shall be responsible for discharging any and all of such Seller's obligations, if any, under (a)
    COBRA; (b ) WARN; (c) unemployment compensation rules and requirements, and (d) the
    FMLA, to the extent that such obligations arise fi'om claims filed by Seller's former employees
    related to the period prior to Closing. Sellers hereby covenant to complete all such forms and file
    same on a timely basis.

                   13.3Access to Information. Buyer shall grant Sellers any and all access necessary to
    prepare and file W-2's for calendar year 2007. In addition, Buyer shall cooperate with and give

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   Sellers access to all documents that Sellers may need in connection with any tax or other business
   issue and/or in connection with any audit of Sellers. Sellers shall provide reasonable written notice
   in advance of its request and shall provide a detailed identification of that which Sellers require
   from Buyer in order to address any such business, tax or audit matters. Sellers will provide Buyer
   with access to any business records retained by Sellers provided that Buyer requests such access
   during normal business hours. Buyer agrees to retain and not destroy or discard any business
   record for a period of seven (7) years from the date of creation without the consent of Infinity, on
   behalf of Sellers. In the event of any request by Sellers for infonnation from Buyer, Buyer agrees
   to make Michael Schaab available to assist Sellers in locating such information, if he is employed
   by Buyer in his current role in the Business at the time of such request.



           13.4Transition Assistance. Following Closing, Sellers shall actively and reasonably assist
   Buyer in transitioning the Business to Buyer including, but not limited to: (a) for a reasonable
   period of time, assisting Buyer in notifYing clients, suppliers, providers and employees of any
   Seller of the purchase of the Purchased Assets, and (b) executing all instruments necessary to vest
   all trademarks, internet domain names and other Intellectual Property in Buyer, with reasonable
   out-of-pocket expenses of Sellers reimbursed by Buyer.

                  13.5Change of Names. Within ten (l0) calendar days following Closing, Sellers will

   change their corporate names to not use any term or derivative of their corporate or trade names,
   including Infinity, Infinity DR, APS and ICG, and will discontinue the use of all stationary, trade
   or fictitious names, invoices and all other uses of corporate names or marks included in the
   Purchased Assets.

                  13.6Agreement Regarding New York Leased Real Property. For all periods following
   the Closing Date during which Buyer leases the New York Location until the end of   the term ofthe
   Cl.llTent Space Lease, the Sellers shall be jointly and severally responsible to subsidize all rent
   p.ayments for the New York Location by paying Buyer Ten Thousand Dollars ($ 1 0,000) per
   month, payable on the first day of each month. Sellers may arrange for that poition of the New
   York Location in the northern direction, but not more than half, of the New York Location, to be
   occupied by a subtenant or co-tenant acceptable to Buyer, but no such co-tenancy or sub-lease
   shall relieve Sellers from their obligations hereunder.

    14.Brokers. Advisors and Consultants

            Sellers have incurred no obligation or liability, contingent or otherwise, for brokerage,
    advisory, consulting, finder's or other fees or commissions or other similar payment in connection
    with this Agreement other than Lyons Solutions, LLC, and Sellers shall jointly and severally
    indemnifY and hold harmless Buyer from any and all claims for brokerage, advisory, consulting,
    finder's or other fees or commissions related to Sellers' and Principals' execution and delivery of
    this Agreement and the performance by Sellers and Principals of their respective obligations
    hereunder resulting from any contract or agreement agreed to by Sellers or Principals. Buyer has
    incurred no obligation or liability, contingent or otherwise, for brokerage, advisory, consulting,
    finder's or other fees or commissions or other similar payment in connection with this Agreement,
    and Buyer shall indemnifY and hold harmless Sellers and Principals from any claims for brokerage,


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   advisory, consulting, finder's or other fees or commiSSions related to Buyer's execution and
   delivery ofthis Agreement and the performance by Buyer of its obligations hereunder.

   15.Negative Covenants-Covenant Against Competition/Confidentiality/Remedies

              15.1Covenant Against Competition and Solicitation. Each of   the Seller Paities hereby
   acknowledges, recognizes and confirms that the nature of the Business is highly competitive, that
   the customers of the Business are located throughout the entire United States, that the covenants
   herein contained in this Section are part of the bargained for consideration without which Buyer
   would not consummate the transactions contemplated hereby, that the covenants herein will not
   deprive any Seller Party of a means by which he or it may earn a livelihood or otherwise cause
   undue hardship and that this Section is a reasonable and necessary means by which Buyer must be
   able to protect its legitimate business interests and the goodwill and the customer and supplier
   relationships of the Business to be acquired by it in connection with the transactions contemplated
   hereby. Accordingly, each of                 the Seller Paities agrees that, subject to the terms of Section 2.4(m)
   hereof, it will not directly or indirectly in the Restricted Territory during the five (5) year period
   following the Closing Date:

                         (a)   engage in or prepare to engage in any "Competing Business", whether such
   engagement is as an officer, director, proprietor, employee, paitner, manager, member, investor


   (other than as a passive investor in less than five percent (5%) of the outstanding capital stock of a
   publicly traded corporation), consultant, advisor, agent, representative, independent contractor,
   creditor or otherwise anywhere in the United States; or

                 (b)assist others in engaging in or preparing to engage in any Competing Business in
   the manner described in clause (i) of this Section 15.1; or

                 (c)solicit the business of, or trade with, any customers or prospective customers of a
   Seller who was a custo'mer or actively sought prospective customer of such Seller during the two
   (2) year period immediately preceding the Closing Date, for the purpose of soliciting or
   consummating the sale of any products or services offered by a Seller during the two (2) year
   period immediately preceding the Closing Date; provided that Fox and Forino shall be permitted
   to engage in such conduct in connection with the performance of their respective duties under the
   Principal Employment Agreements; or

                          (d)induce, or otherwise solicit, any customers with whom any Seller has done
   business in connection with the Business to terminate or otherwise curtail or impair their business
   relationship with Buyer or any person, firm, corporation, or other entity in control or under control
   of, or under common control with, Buyer (an "Affiliate") ; unless requested by the CEO of buyer
   in writing; or

                          (e)solicit or induce any individual who is an employee of Buyer at that time to
   terminate his or her employment with Buyer or offer employment to or hire or engage any such
   individual; or



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                          (f)solicit or induce any individual who is an independent contractor of Buyer or
   who is engaged in any assignment on behalf of Buyer at that time to terminate his or her
   engagement with Buyer or offer employment to or hire or engage any such individuaL.



   For purposes of Section 15, the phrase "Competing Business" means any individual, corporation,
   partnership or other entity engaged in information technology consulting, professional and
   administrative staffing, payrolling, vendor management and project solutions business and the
   phrase "Restricted Territory" means the 100-mile radius from each of the Locations as located on
   the Execution Date.

                   15.2Confidentiality.

                   (a)Unless and until this Agreement is terminated pursuant to Section 12 hereof and
   after the Effective Time, each of Sellers and Principals jointly and severally agree to not use any of
   the Confidential Information as defined in Exhibit "A" for its or their benefit or for the benefit of
   any other person or company other than Buyer or to disclose any Confidential Information to any
   person for a period of five (5) years after the Closing Date, subject to Subsections 15.2(b) and
   15.2(c) below and except to any such Seller's agents, attorneys and advisors ("Representatives")
   who have a need to use such Confidential Information provided that such Representatives are and
   remain bound to the terms of this Section 15.2. Sellers and Principals agree that the Confidential
   Information is a valuable, special and unique asset of the Business that Sellers gained access to,
   and knowledge of, by viitue of                 the ownership of          the Business.

                  (b)In the event any Seller or Principal becomes legally required to disclose any
   Confidential Information in a manner other than expressly permitted by this Agreement, such
   Seller or Principal shall provide Buyer with prompt notice thereof, so that Buyer may seek a
   protective order or other appropriate remedy. Sellers and Principals will cooperate with Buyer, at
   the sole expense of Buyer, in seeking any such order or other remedy, and Sellers and Principals
    shall disclose only that portion of the Confidential Information that they are legally required to
    disclose and in doing so, notwithstanding anything to the contrary contained herein, shall incur no
    liability to Buyer as a result of disclosure of Confidential Information that it is legally required to
    disclose; otherwise, nothing in this Agreement is intended to limit in any way the duty and
    obligation of each Seller and Principal to Buyer under statutory or case law not to disclose or make
    use of Confidential Information.

                           (c)   Sections 15.2(a) and 15.2(b) do not apply to that part of the Confidential
    Information that Sellers demonstrate (a) was, is or becomes generally available to the public other
    than as a result of a breach of this Section 15.3 ; (b) was or is developed by a Seller independently
    of and without reference to any Confidential Information; or (c) was, is or becomes available to a
    Seller on a non-confidential basis from a third party not bound by a confidentiality agreement or
    any legal, fiduciary or other obligation restricting disclosure, (d) was filed with any governmental
    agencies or released to any consultant, advisor or consultant to Sellers in connection with the
    payment of taxes~or (e) was used or disclosed by Fox in compliance with the Fox Employment
    Agreement; or (f) to enforce such Seller's rights under any Transaction Documents. Sellers shall




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   not disclose any Confidential Information of Sellers relating to any of the Business, Purchased
   Assets or the Assumed Liabilities in reliance on the exceptions in clauses (b) or (c) above.

                  15.3Remedies for Breaches of Section 15.

                         (a)Equitable Relief; Rights Cumulative. The Seller Paiiies acknowledge and
   agree that Buyer's remedy at law for a breach or threatened breach of any of the provisions of
   Sections 15.1 and 15.2 would be inadequate and, in recognition of that fact, in the event of a
   breach or threatened breach by any Seller Party of the provisions of Sections 15.1 and 15.2, it is
   agreed that, in addition to its remedies at law, Buyer shall be entitled to equitable relief in the form
   of specific performance, temporary restraining order, temporary, preliminary, or permanent
   injunction, or any other equitable remedy which may then be available, including but not limited to
   an equitable accounting of all earnings, profits and other benefits arising from or in connection
   with such violation, in each case without the need to post bond. The Seller Paiiies agree not to
   oppose Buyer's request for any of the above relief on the grounds that Buyer has not been
   irreparably injured or that Buyer has an adequate remedy at law or that such equitable relief is
   inappropriate. Nothing set forth in this Section 15.3 shall be construed as prohibiting Buyer from
   pursuing any other rights and remedies available to it for such breach or threatened breach pursuant
   to Section 15.


                          (b)Severability. If any portion of
                                                                              the covenants in Section 15 is held to be invalid
   or unenforceable because of geographic area, time, or for any other reason, such holding shall not
   affect the validity or enforceability of the remaining portions of Section 150r prevent enforcement
   of restrictions thereofto the extent a court of competent jurisdiction may consider reasonable.

                    (c)Accounting. In addition to, and not as a limitation upon, Section 15 hereof, the
   parties to this Agreement agree that if a breach of any covenant in Section 15.1 or 15.2 occurs, the
   injured paiiy shall be entitled to an accounting and repayment of all profits, compensation,
   commissions, remuneration or other quantifiable benefit that the breaching paiiy directly or
   indirectly has realized as a result of, or arising out of, or in connection with, any such breach.

                          (d)Tolling. If any of the covenants contained in Section 15 are breached, then the
   applicable restricted period shall be extended for a period of                            time equal to the period of       time dllling
   which such breach is subsisting.

                          (e)Other Remedies. In the event of a breach or violation of
                                                                                                                     this Section 15, Buyer
    shall also have all of its rights and remedies at law and in equity.

                          (t)Aclmowledgemel1ts. Notwithstanding anything to the contrary contained in this
    Agreement, the Parties agree that the amount of the Purchase Price as set forth in Section 2 shall


    (a) not be construed to limit the damages which Buyer may recover as a result of a breach of any of
    the covenants in Section 15, and (b) not be used as a defense or evidence by a Seller Party in any
    proceeding to enforce the covenants contained in Section 15.




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                  (g)Essential Consideration. The covenants in Section 15 are essential components
   of the consideration received by Buyer under this Agreement, and Buyer would not have executed
   and delivered this Agreement but for such undei1akings by Seller Parties.

   16.Miscellaneous Provisions

           16.1Notices. All notices hereunder shall be in writing and delivered personally or mailed
   by certified mail, postage prepaid, addressed to the respective parties at the following addresses (or
   at such other address as shall be given in writing by any party to the other):

   If    to Buyer:                                         American Cybersystems, Inc.,
                                                           100 Crescent Center Parkway, #200
                                                           Tucker, GA 30084
                                                           Telephone: (770) 493-5588
                                                           Facsimile: (770) 493-5586

   If    to Sellers:                                       Luigi Forino
                                                           21 i Doris Ave
                                                           North Bellmore, NY 11710


   If    to Principals:                                     Luigi Forino
                                                            235 Island Parkway
                                                            Island Park, NY 10123

                                                            Adam B. Fox
                                                            340 East Bird Village Road
                                                            Jackson, NJ 08527

                  16.2Remedies.

                 (a)In the event of a breach by Sellers of the representations and warranties in this
    Agreement or any Transaction Documents or breach by any Seller Party of any other terms,
    conditions, obligations or covenants in this Agreement or any Transaction Documents, Buyer shall

    be entitled, if it shall so elect and without waiver of any other rights it may have at law or equity,
    to: (i) institute legal proceedings to obtain damages for any such breach to the extent of such
    breach and (ii) enforce the specific performance of this Agreement or Transactions Documents by
    Sellers and Principals and to enjoin Sellers and Principals fÌ"om any further violation of this
    Agreement or Transaction Documents. No remedy conferred upon Buyer by this Agreement or
    TransactionsDocuments is intended to be exclusive of any other remedy and each remedy shall be
        cumulative and shall be in addition to any other remedy given hereunder or therein or now or
        hereafter existing at law or in equity.

        (b) In the event of a breach by Buyer of the representations and warranties of Buyer or the
        terms of this Agreement, Sellers and Principals shall be entitled, if they shall so elect and without
        waiver of any other rights they may have at law or equity, to: (i) institute legal proceedings to

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   obtain  damages for any such breach to the extent of such breach, and (ii) enforce the specific
   performance of this Agreement by Buyer and to enjoin Buyer from any further violation of this
   Agreement. No remedy conferred upon Sellers or Principals by this Agreement is intended to be
   exclusive of any other remedy and each remedy shall be cumulative and shall be in addition to any
   other remedy given hereunder or now or hereafter existing at law or in equity.

                          (c) Notwithstanding anything herein or in any Transaction Document to the
   contrary, in the absence offÌ"aud or intentional misrepresentation by Sellers of which any Principal
   has actual knowledge of such fraud or intentionally misrepresentation, Principals shall have no
   liability or obligation to Buyer for any breach of any representation, warranty, covenant or other
   term or condition to Buyer in this Agreement except the covenants and agreements in Sections 2.4


   (e), and 15 hereof.



               16.3Successors and Assigns. This Agreement, and all rights and powers granted hereby,
   will bind and inure to the benefit of the parties hereto and their respective heirs, beneficiaries,
   successors and assigns. No party hereto may assign any of its rights or obligations hereunder,
   except that upon the consent of Sellers (which consent may not be unreasonably withheld or
   delayed) Buyer may assign all of its rights and obligations hereunder and under any Transaction
   Documents to which such Sellers are parties, to any third paiiy; whereupon Buyer shall be released
   from its obligations hereunder. This Agreement is for the sole benefit of the parties hereto and
   their respective heirs, beneficiaries, successors and assigns and nothing herein provided or implied
   shall give or be construed to give any person or entity, other than the parties hereto and their
   respective heirs, beneficiaries, successors and assigns, any legal or equitable rights hereunder.

          16.4No Partnership. The parties acknowledge that this Agreement and any provision
   hereof shall not be deemed to establish any joint venture, partnership or other relationship with
   respect to Buyer, Sellers or Principals. No creditor of any Seller shall be entitled to recourse
   against Buyer under any circumstance as to obligations for which such Seller continues to be
   responsible pursuant to the provisions of this Agreement. In the event that Buyer chooses to pay
   any funds payable by a Seller to providers of goods or services or to creditors of such Seller
   directly, Buyer shall not be liable for the order or priority of such payments nor shall Buyer be
    deemed to assume any obligation of such Seller to such providers or creditors except to the extent
    provided herein.

                16.5Expenses. Except as herein otherwise provided, each ofthe paiiies hereto shall pay its
    own legal, accounting, brokerage and other expenses and charges incident to the drafting,
    negotiation and delivery of             this Agreement and the consummation of                    the transactions contemplated
    thereby.

                16.6Headings/Captions; Construction. Headings or captions in this Agreement are for
    convenience only and shall not be used to interpret or construe its provisions. All references to
    "Aiiicles" or "Sections" or "Subsections" refer to the corresponding Aiiicles or Sections or
    Subsections of this Agreement. All words used in this Agreement will be construed to be of such
    gender or number, as the circumstances shall require.



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                  16.7Governing Law. THIS AGREEMENT SHALL BE GOVERNED BY AND

   CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORI(,
   without regard to principles of conflicts of laws of such state.

                  16.8Jurisdiction and Venue. Each party hereto irrevocably and unconditionally (a) agrees
   that any suit, action or other legal proceeding arising out of this Agreement may be brought in a
   couii of general jurisdiction in New Yor1c County, New York, or, if any such court does not have
   or will not accept jurisdiction, the United States District Couii for the Noiihern District of Georgia,
   Atlanta Division or for the Eastem District of New Y ork, (b) consents to the jurisdiction of any
   such couii in any such suit, action or proceeding, and ( c) waives any objection which such paiiy

   may have to the laying of venue of any such suit, action or proceeding in any such couii.

          16.9Counterparts. This Agreement may be executed in one or more counterparts, each of
   which shall be deemed an original, but all of which, when taken together, shall constitute one and
   the same instrument. The exchange of copies of this Agreement and of signature pages by
   facsimile transmission shall constitute effective execution and delivery of this Agreement as to the
   paiiies and may be used in lieu of the original Agreement for all purposes. Signatures of the
   parties transmitted by facsimile shall be deemed to be their original signatures for all purposes.

                  16.10Time of Essence. Subject to the terms and conditions hereof, time is of the essence
   of   this Agreement.



                  16.   11   Severability. If any court of competent jurisdiction holds any provision of this
   Agreement unenforceable, the other provisions of this Agreement will remain in full force and
   effect. Any provision of this Agreement held invalid or unenforceable only in pali or degree will

   remain in full force and effect to the extent not held invalid or unenforceable.

                  16.12Waiver. The rights and remedies of                         the parties to this Agreement are cumulative and
   not altemative except as otherwise provided herein. Neither the failure nor any delay by any paiiy

   in exercising any right, power or privilege under this Agreement or the documents referred or
   attached hereto will operate as a waiver of such right, power, or privilege, and no single or paiiial
   exercise of such right, power, or privilege will preclude any other or fuiiher exercise of such right,
   power, or privilege or the exercise of any other, right, power, or privilege. To the maximum extent
   permitted by applicable law: (a) no claim or right arising out of this Agreement or the exhibits or
   schedules attached hereto or the documents referred to or attached hereto can be discharged by one
   party, in whole or in part, by a waiver or renunciation of the claim or right unless in writing signed
   by all paiiies, (b) no waiver that may be given by a party will be applicable except in the specific
   instance for which it is given, and (c) no notice or demand on one paiiy will be deemed to be a
   waiver of any obligation of such party or of the right of the party giving such notice or demand to
   take further action without notice or demand as provided in the Agreement or the documents
   referred to in this Agreement.



           16.13Additional Assurances. Each party agrees that it will, at any time before and after
   the Closing, execute ancl deliver all additional documents, and do any other acts or things that may
   be reasonably requested by the other party in order to n.irther or better effectuate or evidence the


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   terms hereof, all as reasonably requested by such other party and all without expense or undue
   hardship to such other party.

           16.14Entire Agreement. This Agreement, including the exhibits and schedules attached
   hereto and any other documents and agreements referenced herein and expressly made a pai1
   hereof, contains the entire understanding of the pai1ies hereto with respect to the purchase of the
   Purchased Assets set fully foi1h in Exhibit "A" and the assumption of the Assumed Contracts as
   fully set forth in Exhibit "B." This Agreement supersedes all other prior agreements,
   correspondence, conversation, negotiations, term sheets and understandings between the pai1ies
   with respect to such subject matter except as otherwise incorporated herein.

           16.15Amendments. This Agreement may not be changed orally, but only by an agreement
   in writing signed by all of the pai1ies hereto, and no waiver of compliance with any provision or
   condition hereof and no consent provided for herein shall be effective unless evidenced by an
   instrument in writing duly executed by the pain hereto seeking to be charged with such waiver or
   consent.



          16.16Public Announcements. Sellers and Principals agree to coordinate and cooperate in
   respect of any public announcement they desire to make concerning this Agreement and the
   transactions contemplated herein.

          16.17Confidentiality of Transaction. From and after the Closing Date, Sellers, Buyer and
   Principals mutually agree not to discuss the purchase price to be paid by Buyer or other terms and
   conditions of this Agreement with any current or former employees of Sellers that are or were
   employees prior to the Closing Date and/or subsequent to the Closing Date become employees of
   Buyer or with any third parties, except: (a) any of a Seller's, Buyer's and Principal's respective
   attorneys, accountants, and financial and other professional advisors, provided that they agree to
   retain such in confidence and to utilize such information only for purposes of advising .their
   respective clients, (b) the IRS, the State of Georgia, the State of New Jersey, the State of New
   York (including the New York State Department of Taxation and Finance) or their agents or
   successors in interest, or (c) as required by law or legal process without the written approval of all

   parties to this Agreement. In the event that a party is served with such legal process or otherwise
   compelled to disclose information the subject of this Paragraph 16. i 7, it shall give the other pain
   prompt notice thereof, so as to permit that party to enter timely objections to such compelled
   disclosure.

           16.18No Third Party Beneficiaries. Except as to any rights expressly conferred upon any
   person that is not a party to this Agreement, no person or entity that is not a pai1y to this
   Agreement shall have any rights or claims hereunder as a third party beneficiary, including as to
   any claim against any Buyer to pay any liabilities associated with any Purchased Assets, Assumed
   Contracts or this Agreement.



              16.19Consultation with Legal CounseL. SELLERS AND PRINCIPALS
    INDIVIDUALLY AND ON BEHALF OF SELLERS ACKNOWLEDGE THAT EACH HAS
    CONSULTED WITH LEGAL COUNSEL OF THEIR OWN CHOOSING IN CONNECTION
    WITH THE PREPARATION AND EXECUTION OF THIS AGREEMENT AND THAT EACH

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   HAS READ AND UNDERSTANDS THE FOREGOING PROVISIONS AND AGREES THAT
   SUCH PROVISIONS ARE REASONABLE AS WRITTEN AND ARE INTENDED TO BE
   FULLY ENFORCEABLE.

         BUYER ACKNOWLEDGES THAT IT HAS CONSULTED WITH LEGAL COUNSEL
   OF ITS CHOOSING IN CONNECTION WITH THE PREPARATION AND EXECUTION OF
   THIS AGREEMENT AND THAT IT HAS READ AND UNDERSTANDS THE FOREGOING
   PROVISIONS AND AGREES THAT SUCH PROVISIONS ARE REASONABLE AS
   WRITTEN AND ARE INTENDED TO BE FULLY ENFORCEABLE.




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                                                                                       Infinity Cons~g Group, LLC

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                                                                EXIllBIT "A"
                                                              Purchased Assets

                 The Purchased Assets shall include the following assets of Sellers related to the Business:

   l.all unbilled work in progress, pipelines for temporary employees and permanent placement
   candidates;

   2.all cash, cash equivalents, deposit accounts and long and short term securities of      Sellers;

   3.all Accounts Receivable as defined in Paragraph 5.2;

   4.the amount of all reserves, prepaid deposits, security deposits, employee advances, refunds,
   credits due and prepaid expenses as of the Closing for all contracts or permits or otherwise relating
   to the Purchased Assets or the operation of the Business;

   5.all purchase orders, master services agreements, statements of work and written contracts,
   including, but not limited to any such contracts with all of each Seller's clients, and contracts,
   agreements, commitments, instruments, bids and proposals to which a Seller is a party with any
   customers or prospective customers or providers or prospective providers of goods and services to
   a Seller;

   6.all books and records (financial or otherwise) peiiaining to the Business;

   7.all telephone numbers, including those of the Business of Sellers, including, but not limited to,
   telephone/fax numbers: (212) 967-0300, (212) 967-2828, (732) 593-0200, (732) 593-0211, and
   (809) 261-5103

   8.the domain names 'infinitygroup.com, provms.com, iusergroups.com and all other domain names
   used in the Business.

   9.the corporate names Infinity, Infinity DR, APS and ICG, and any derivation thereof

    10.all tangible assets used in the Business, including, but not limited to, fiimiture, fixtures, and
    equipment (as listed on Exhibit A-I), plants, art work, office supplies, stationery, refrigerators, air
    conditioners, heaters, fans, coffee making equipment, decorations and signs;

    11.all owned and leased (subject to such leases) business equipment including telephones,
    switchboards, telephone terminals, facsimile transmission (fax) machines, projectors, copying
    machine(s) and all related equipment and supplies;

    12.all computers and all related equipment including, printers, modems and routers, projectors and
    disk drives owned by a Seller;

    13.all keys, combinations, security devices, and codes for or with respect to all real property,
    storage units, vaults, safe deposit boxes and all instruments, assignments or documents required to
    transfer all of a Seller's right, title and interest in the same;
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   14.all "Confidential Information" owned by a Seller or which a Seller has the right to use,
   including all know-how, trade secrets and other confidential or non-public information prepared
   for, by or on behalf of, or in the possession of a Seller, including (a) non-public proprietary
   infoi111ation, (b) other infonnation derived from repoiis, investigations, research, studies, work in
   progress, codes, marketing, sales or service studies or programs, capital expenditure projects, cost
   summaries, equipment, product or system designs or drawings, pricing or other formulae, sales and
   marketing techniques, contract analysis, financial information, projections, customer lists,
   customer studies and analyses, training materials, credit studies, opinion polls, evaluations of
   employees, customer studies, agreements with vendors, joint venture agreements, confidential
   filings with any agency, couii, or other governmental authority, and (c) all other concepts,
   methods, techniques, and processes of doing business, ideas or information that can be used in the
   operation of a business or other enterprise and is sufficiently valuable, or potentially valuable, and
   secret to afford an actual or potential economic advantage over others. Confidential Infonnation
   does not include any information: (x) that currently is generally available to and generally known
   by the public or, through no fault of a Seller, hereafter becomes generally available to and
   generally known by the public, (y) becomes known to the recipient through disclosure by sources
   other than the disclosing party having the right to disclose such infoi111ation, or (z) is required to be
   disclosed pursuant to the requirement of a governmental agency or any law requiring disclosure
   thereof, provided that the paiiy whose Confidential Information is to be disclosed is provided with
   timely prior written notice of any such required disclosure and given the oppoiiunity to object to
   same;

   15.all "Intellectual Property" owned by a Seller or which a Seller has the right to use, including
   all trade names, trademarks, service marks, logos, patents, copyrights (including any registrations,
   applications, licenses or other rights relating to any of the foregoing), and proprietary technology,
   trade secrets, inventions, know-how, designs, drawings, computer programs (including source
   codes and algorithms), ProView software (including source codes and algorithms), calibration
   processes, practices and operations, manufacturing instructions and other proprietary intangible
   properties and rights relating to the use of an item (including all prototypes, works-in-progress and
   inventories of each Item) and all intellectual property listed in Exhibit A-l;

    16.all adveliising, marketing and promotional materials and fixtures and equipment used 111

   connection with sales, marketing and promotion;

    17.all owned computer programs and software licensed to a Seller used in the Business as of
    August 31,2007 and related data, including but not limited to the Pro View software.




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   18.except to the extent a part of Excluded Assets, all copies of business and financial records of
   Sellers (whether in electronic, paper or other format), including, (a) all files and records pertinent,
   relevant (to the best of each Seller's knowledge) connected with the Business and the rendition of
   services by a Seller, (b) all agreements, orders, requirements, and inquiries from or with past,
   current or prospective customers, all customer files including but not limited to, rolodexes, lists,
   directories and records of sales calls and follow-ups made in connection with the solicitation of
   business, (c) subject to applicable law, all files related to the recruitment and placement of
   temporary employees, including payroll and personnel records, including 1-9 documentation,
   repoits of assignments and engagements, (d) subject to applicable law, all files related to the staff
   employees of a Seller, (e) all files related to the permanent placement or recruiting business of a
   Seller, (f) all customer records, books of account, supplier lists; maintenance records, (g) all

   engagement, placement or other agreements with prospective temporary or staff employees, and
   (h) all third paity vendor and vendor management contracts;
   19.all employee manuals and handbooks;

   20.all operating procedures, policy and procedure manuals and training materials and sales and
   marketing materials;

   21.all lists of independent contractors, suppliers and related correspondence and files;

   22.all permits, licenses and governmental approvals required to conduct any pait of the Business of
   a Seller as the same existed on August 31, 2007 to the extent that such are transferable;

   23.all claims for damages against insurance companies that relate to any of                        the tangible Purchased
   Assets to the extent such damages have not been repaired;

   24.all of each Seller's goodwill and related doing business as ("dba") filings; and

   25.all assets in connection with the CMI Acquisition.

   Except as otherwise defined in this Exhibit, capitalized words and letters shall have the meaning
   given to them in the Asset Purchase Agreement to which this Exhibit is attached.




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                                                        EXIllBIT "B"
                                                    ASSIGNED CONTRACTS

              All rights and obligations arising from and after midnight on August 31, 2007 under the
   following:

   I.All leases for tangible assets used in connection with Sellers' Business, as the same exist on
   August 31, 2007, including, without limitation, leases for copiers, fax machines, and similar
   devices and all leases for computer equipment.



   2.All Intellectual Propeiiy licenses including assignments of rights thereunder and consents
   thereto.

   3.All written or oral contracts, agreements, commitments, instruments, guaranties, bids and
   proposals to which a Seller is a paiiy with any customers for which or whom Seller performed
   services in the preceding twelve (12) months or, in the case of bids or proposals, any prospective
   customers, including without limitation all unfilled orders outstanding as of the Effective Time for
   the sale of services by a Seller.

   4.All written or oral contracts, agreements, commitment, or other documents with any provider of
   goods or services, to a Seller including those with providers of utilities, security and maintenance
   services, in the preceding twelve (12) months entered into in the ordinary course of business by a
   Seller.

   5.All independent contractor agreements, employment, non-competition, non-solicitation and
   confidentiality agreements with staff and temporary employees.

   Except as otherwise defined in this Exhibit, capitalized words and letters shall have the meaning
   given to them in the Asset Purchase Agreement to which this Exhibit is attached.




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                                                                EXlllBIT "c"

                                                              Promissory Note

   Date: January _' 2008

   Amount: $500,000



    Sellers:                                                                            Buyer:

    Infinity Consulting Group, LLC                                                      American Cybersystems, Inc.
    Infinity Consulting Group Latin America                                             100 Crescent Center Parkway, Suite 200
    APSlBotal Staffing Inc.                                                             Tucker, GA 30084
    ICG of America, LLC
    c/o Infinity Consulting Group, LLC




   FOR VALUE RECEIVED, the undersigned Buyer unconditionally promises to pay Infinity

   Consulting Group, LLC, for itself and as agent for Sellers ("Agent"), at its offices indicated at the
   beginning ofthis Note, or at such other place as may be designated by Agent, the principal amount
   of Five Hundred Thousand and 00/100 Dollars ($500,000) in accordance with the payment
   schedule indicated below. This Promissory Note is given pursuant to Section 2.3 of that ceiiain
   Asset Purchase Agreement between Buyer and Sellers of even date herewith ("Sale Agreement")
   and is the Promissory Note referred to in, and entitled to the benefits of, the Security Agreement.

   Except as otherwise defined herein, capitalized words and letters shall have the meaning ascribed
   to them in the Sale Agreement.



    1. Payment Schedule. All payments received hereunder shall be applied first to the payment
              of any expense or charges payable hereunder or under any other loan documents executed
              in connection with this Note (with the exception of expenses related to preparation of this
              Note or the Sale Agreement of even date herewith) with the balance applied to principal, or

              in such other order as Sellers shall determine at its option.

   2. Monthly Payments. Subject to Section 2.6 of the Sale Agreement, principal and interest
         due hereunder shall be paid in thiiiy-six (36) equal monthly payments of principal and
              interest, beginning April 1, 2008, with interest accruing at an annual rate of seven percent
              (7%). The monthly payment shall be made on the first Business Day of each month in the
              amount of Fifteen Thousand Four Hundred Thirty-Eight and 55/1 00 Dollars ($15,438.55).
              In the event that any payment due under this Note is paid more than ten (10) days after the
               date on which such payment is due, a late fee equal to five percent (5%) of the unpaid
               payment shall become immediately due and payable. For purposes hereof: "Business Day
               shall mean any day other than a Saturday, Sunday or other day on which commercial banks

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                 in New York, New York are required or authorized by law to be closed.

   3. Events of             Default. The following are events of default hereunder: (a) the failure to payor
                 perform any obligation, liability or indebtedness of   Buyer to Sellers under this Note or the
                 Sale Agreement or any Transaction Documents, as and when due (whether upon demand,
                 at maturity or by acceleration); (b) the commencement of a proceeding against Buyer for
                 dissolution or liquidation, or the voluntary or involuntary termination or dissolution of
                 Buyer; or (c) the insolvency of, the business failure of, the appointment of a custodian,
                 trustee, liquidator or receiver for, or for any of the property of, the assignment for the
                 benefit of creditors by, or the filing of a petition under bankruptcy, insolvency or debtor's
                 relief law or the filing of a petition for any adjustment of indebtedness, composition or
                 extension by or against Buyer.



   4. Remedies upon Default. Whenever there is a default by Buyer under this Note or the Sale
                 Agreement, and after Sellers have given Buyer ten days' notice (via ovemight delivery)
                 and an oppoitunity to cure, (a) the entire balance outstanding hereunder and all other
                 obligations of Buyer to Sellers (however acquired or evidenced) shall, at the option of
                 Sellers, become immediately due and payable, and/or (b) to the extent permitted by law,
                 the rate of interest on the unpaid principal shall be charged at Sellers' discretion up to the
                 maximum rate allowed by law, or if none, twelve percent (12%) per annum (the "Default
                 Rate"), and/or (c) Sellers may exercise all rights under the Security Agreement. The
                 provisions herein for a Default Rate shall not be deemed to extend the time for any
                 payment hereunder or to constitute a "grace period" giving Buyer a right to cure any
                 default. At Sellers option, any accrued and unpaid principal, fees or charges may, for
                 purposes of computing and accruing interest at the Default Rate hereunder on a daily basis
                 after the due date of the Note or any installment thereof, be deemed to be a paii of the
                 principal balance, and interest at the Default Rate shall accrue on a daily compounded basis
                 after such date atthe Default Rate provided in this Note until the entire outstanding balance
                 of principal is paid in fulL. Additionally, Sellers shall have all rights and remedies available
                 under the Sale Agreement, Security Agreement, as well as all rights and remedies available
                  at law or in equity.

   5 . Non-Waiver. The failure at any time of Sellers to exercise any of its options or any other
                  rights hereunder shall not constitute a waiver thereof, nor shall it be a bar to the exercise of
                  any of its options or rights at a later date. All rights and remedies of Sellers shall be
                  cumulative and may be pursued singly, successively or together, at the option of Sellers.
                  The acceptance by Sellers of any paliial payment shall not constitute a waiver of any
                  default or of any of Sellers rights under this Note. No waiver of any of its rights hereunder,
                  and no modification or amendment of this Note, shall be deemed to be made by Sellers
                  unless the same shall be in writing, duly signed on behalf of Sellers; each such waiver shall

                  apply only with respect to the specific instance involved, and shall in no way impair the
                  rights of Sellers or the obligations of Buyers to Sellers in any other respect at any other
                  time.

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   6. Applicable Law, Venue and Jurisdiction. This Note and the rights and obligations of
         Buyer and Sellers shall be governed by and interpreted in accordance with the laws of the
         State of New York. In any litigation in connection with or to enforce this Note or any
         endorsement or guaranty of  this Note or any loan documents, Sellers and Buyer inevocably
         consent to and confers personal jurisdiction of the courts of the State of New York, with
         venue in New York County, New York, or the coui1s of the United States located within
         the State of New York and expressly waive any objections as to venue in any such courts.
         Nothing contained herein shall, however, prevent Sellers fi'om bringing any action or
              exercising any rights within any other state or jurisdiction or fi'om obtaining personal
              jurisdiction by any other means available under applicable law.

   7. Partial Invalidity. The unenforceability or invalidity of any provision of this Note shall

               not affect the enforceability or validity of any other provision herein and the invalidity or
               unenforceability of any provision of this Note or of the loan documents to any person or
               circumstance shall not affect the enforceability or validity of such provision as it may apply
               to other persons or circumstances.

   8. Binding Effect. This Note shall be binding upon and inure to the benefit of Buyer and
               Sellers and their respective successors, assigns, heirs and personal representatives,
               provided, however, that no obligations of Buyer hereunder can be assigned without prior
               written consent of Sellers except to any Affiliate or assignee of, or successor to, Buyer
               provided, however, that no such assignment shall relieve Buyer fì"om its obligations
               hereunder.

   9. Costs of Collection. Buyer agrees to pay Sellers the reasonable costs of collection
               including reasonable attorneys' fees and costs, actually incurred by Sellers to collect this
               Note.
                             .
   10. Undertaking to Agent. Without prejudice to its obligatioi1s under this Note or the Sale
         Agreement, Buyer undei1akes with Agent and Sellers to pay SUNTRUST BANK, as
               escrow agent under the Escrow Agreement as defined in the Sale Agreement, all amounts
               payable by it to or for the account of Sellers pursuant to this Note for the duration of any
               such Escrow Agreement, and thereafter to Agent. Any such payment made by Buyer to
               Escrow Agent or Agent shall pro tanto satisfY the Buyer's obligations to make payments to
               or for the account of Sellers pursuant to this Note.

    i i. Notices. All notices and other communication in connection with this Note shall be given
                pursuant to Section 1 6.1 of            the Sale Agreement.



   Executed under seal by Buyer as of the day and year first above written.
                                                                                  Buyer:

                                                                                  American Cybersystems, Inc.

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                                        By:                        (Seal)
                                        Name:
                                        Title:




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                                  EXIllBIT "D"
                                 BILL   OF   SALE




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                                 EXIllBIT "E"

                            ACCOUNTS RECEIVABLE




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                                 SCHEDULE 1.3

                             ASSUMED PAYABLES




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                                     SCHEDULE 4.1

                       TIllRD PARTY CONSENTS/SIGNIFICANT CLIENTS




                 SEE EXCEL SPREADSHEET OF SCHEDULE 4.1 ATTACHED HERETO




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                                                              SCHEDULE 7.2(b)

                                LAWSUITS, INVESTIGATIONS AND PROCEEDINGS




   Thirty One Co. V. Luigi Forino And Infinity Consulting Group, Inc. A1KI A Infinity Consulting
   Group of        New York, Inc. A1K/A Infinity Consulting Group, LLC, Supreme Court of   the State of
   New York, County of               New York, Index Number: 604355/04



   ASI System Integration, Inc. v. Infinity Consulting Group, LLC, Supreme Court ofthe State of
   New York, County of               New York, Index Number 105007106




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Case 2:09-cv-01744-JS-WDW Document 23 Filed 02/04/10 Page 75 of 77 PageID #: 240




                                                SCHEDULE 7.2(d)

                                             FINANCLAL STATEMENTS

   See Attached:

   2005 Profit and Loss and Balance Sheet - reviewed.
   2006 Profit and Loss and Balance Sheet - reviewed.
   2007 through August 31, 2007 - Sellers'       management internal financIals.




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                                   SCHEDULE 10.7

                  SELLERS' EMPLOYEES AVAILABLE AS OF CLOSING DATE


   (Identify)




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